                                                                                                                                United States District Court
                                                                                                                                   Southern District of Texas

                                                                                                                                       ENTERED
                                                                                                                                 September 29, 2020
                                          UNITED STATES DISTRICT COURT
                                                                                                                                   David J. Bradley, Clerk
                                           SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION

LADDY CURTIS VALENTINE, et al.,                                           §
                                                                          §
                Plaintiffs,                                               §
VS.                                                                       § CIVIL ACTION NO. 4:20-CV-1115
                                                                          §
BRYAN COLLIER, et al.,                                                    §
                                                                          §
                Defendants.                                               §

                           FINDINGS OF FACT AND CONCLUSIONS OF LAW


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             The Court submits the following Findings of Fact and Conclusions of Law pursuant to Rule

52(a)(1) of the Federal Rules of Civil Procedure.1

I.           BACKGROUND

             Plaintiffs Laddy Curtis Valentine and Richard Elvin King, individuals incarcerated at the

Wallace Pack Unit (“Pack Unit”), filed this case as a putative class action on March 30, 2020.

(Doc. 1.) Plaintiffs allege that Defendants have failed to properly protect them and other similarly

situated Pack Unit inmates from the COVID-19 pandemic. Plaintiffs claim that Defendants are

violating the Eighth Amendment by acting with deliberate indifference to the health of the Pack

Unit population, which is more vulnerable than the general public is to serious illness or death

from COVID-19. (Doc. 1 ¶¶ 74–79.) Plaintiffs also claim that Defendants are violating the

Americans with Disabilities Act (“ADA”) and the Rehabilitation Act by refusing to accommodate

individuals with disabilities by, e.g., providing measures that protect against the spread of COVID-


1
 Any Finding of Fact that should be a Conclusion of Law shall be deemed such, and any
Conclusion of Law that should be a Finding of Fact shall be deemed such.


                                                                       2
19 in the Pack Unit. (Doc. 1 ¶ 81–89.) Plaintiffs seek injunctive and declaratory relief only. (Doc.

1 ¶¶ 96–100.)

       After an evidentiary hearing, the Court entered a preliminary injunction order on April 16,

2020. (Doc. 40.) On April 22, 2020, the Fifth Circuit stayed the Court’s preliminary injunction

order pending appeal. Valentine v. Collier, 956 F.3d 797, 801–05 (5th Cir. 2020) (“Valentine I”).

On June 5, 2020, the Fifth Circuit vacated the Court’s preliminary injunction order on the basis

that Defendants “ha[d] substantially complied with the measures ordered by the district court” and

remanded the case to this Court for further proceedings on the permanent injunction. Valentine v.

Collier, 960 F.3d 707, 707 (5th Cir. 2020) (“Valentine II”).

       After the case was remanded, this Court certified a general class of inmates at the Pack

Unit and a high-risk subclass of inmates who have medical conditions or who are of older age.

Valentine v. Collier, No. 20-cv-1115, 2020 WL 3491999 (S.D. Tex. June 27, 2020) (Doc. 160)

(“Class Cert. Order”). The Court also denied Defendants’ Motion to Dismiss. (Doc. 172). As

explained infra Part III(A), the Court has also certified a mobility-impaired subclass of inmates

who require the use of a walker, cane, crutches, or wheelchair to ambulate.

       On July 13, 2020, the case proceeded to a bench trial before this Court. Over the course of

the eighteen-day trial, the Court received exhibits and heard sworn testimony from fact and expert

witnesses. Following trial, the Court granted Plaintiffs’ motion to admit newly discovered

evidence revealed during and after trial. (Minute Entry Aug. 25, 2020). Having considered the

evidence, testimony, oral arguments presented during the trial, post-trial filings, and all applicable

law, the Court sets forth the following Findings of Fact and Conclusions of Law.




                                                  3
II.      FINDINGS OF FACT

      A. The Parties

      1. Named Plaintiff Laddy Curtis Valentine is a 69-year-old man who is currently incarcerated

         at the Pack Unit. Mr. Valentine suffers from chronic medical conditions including drop

         foot, atrophy and weakness in the upper-left extremity, high blood pressure, hypertension,

         nerve damage from a stroke, and limited ability to grip with his left hand. (Tr. 1-148:20–

         149:20, 150:4–17 (Valentine).)2

      2. Named Plaintiff Richard Elvin King is a 73-year-old man who is currently incarcerated at

         the Pack Unit. Mr. King has diabetes, high blood pressure, and chronic kidney failure. (Tr.

         2-10:6–11:13 (King).) As a diabetic, Mr. King has difficulty regulating his blood sugar.

         (Id.) Mr. King also suffers from hyperlipidemia, diabetes, and kidney disease. (PTX 184 at

         11, 14.)3

      3. Mr. Valentine and Mr. King (collectively, “Plaintiffs”) represent three certified classes of

         inmates at the Pack Unit (collectively, the “Class”):

             a. The General Class includes:

             All current and future inmates incarcerated in the Texas Department of Criminal
             Justice Wallace Pack Unit who are subjected to TDCJ and the Texas
             Correctional Managed Health Care Committee’s policy and practice of failing
             to provide protection from exposure to COVID-19 during the class period.

             b. The High-Risk Subclass includes:

             All current and future inmates incarcerated in the Texas Department of Criminal
             Justice Wallace Pack Unit who are subjected to TDCJ’s policy and practice of
             failing to provide protection from exposure to COVID-19 during the class
             period and who are, according to the CDC, most at risk for severe illness, injury,


2
  The transcript for the eighteen-day bench trial before this Court is located at docket entries 304–
336. The Court will cite to the transcripts as “(Tr. [day]-[page]:[line]–[page]:[line] (witness).).”
3
  The Court will cite to trial exhibits for Plaintiffs and Defendants as “(PTX ## at [page].)” and
“(DTX ## at [page].),” respectively.


                                                   4
       or death from COVID-19 due to their age or their health conditions, including
       the following individuals:

                People aged 65 years or older;
                People with chronic lung disease or moderate to severe asthma;
                People who have serious heart conditions;
                People who are immunocompromised including patients undergoing
                 cancer treatment;
                People with other underlying medical conditions, particularly if not well
                 controlled, including, but not limited to, those with diabetes, renal
                 failure, or liver disease; and
                People of any age with severe obesity (body mass index [BMI] ≥ 40).

       (Doc. 160 at 3.)

       c. The Mobility-Impaired Subclass includes:

       All current and future inmates incarcerated in the Texas Department of Criminal
       Justice Wallace Pack Unit who suffer from a disability that substantially limits
       one or more of their major life activities, are subjected to TDCJ and the Texas
       Correctional Managed Health Care Committee’s policy and practice of failing
       to provide protection from exposure to COVID-19 during the class period, and
       who require the use of a walker, cane, [crutches], or wheelchair to ambulate.

       (Doc. 248 at 11.)

4. Defendant Texas Department of Criminal Justice (“TDCJ”) is the prison system for the

   state of Texas and is an agency of the state. TDCJ operates 104 prisons around the state,

   including the Pack Unit, the unit at issue here. (Tr. 1-41:10–22 (Collier).)

5. Defendant Robert Herrera is the senior warden of the Pack Unit. (Doc. 205 ¶ 6.) As the

   warden of the Pack Unit, Mr. Herrera oversees the staff and inmates housed at the Pack

   Unit. (Id.)

6. Defendant Bryan Collier is the Executive Director of TDCJ who oversees the activities of

   TDCJ. (Doc. 205 ¶ 5; Tr. 1-41:10–22 (Collier).) Mr. Collier is responsible for Mr. Herrera’s

   actions or inactions at the Pack Unit. (Tr. 10-98:23–99:2 (Collier).)




                                               5
    B. The COVID-19 Pandemic4

    7. Coronavirus disease 2019 (“COVID-19”) is an infectious disease caused by severe acute

       respiratory syndrome coronavirus 2 (“SARS-CoV-2”). This novel coronavirus has spread

       around the world since the end of 2019, resulting in a global pandemic.

    8. The COVID-19 pandemic has sparked a public health emergency across the United States,

       including in Texas. The first case of COVID-19 in the United States was confirmed on

       January 21, 2020. On January 30, 2020, the World Health Organization declared the

       COVID-19 outbreak a “Public Health Emergency of International Concern.” Statement on

       the Second Meeting of the International Health Regulations (2005) Emergency Committee

       Regarding the Outbreak of Novel Coronavirus (2019-nCoV), WHO (Jan. 30, 2020),

       https://www.who.int/news-room/detail/30-01-2020-statement-on-the-second-meeting-of-

       the-international-health-regulations-(2005)-emergency-committee-regarding-the-

       outbreak-of-novel-coronavirus-(2019-ncov). The next day, the U.S. Secretary of Health

       and Human Services declared that COVID-19 presented a public health emergency under

       section 319 of the Public Health Service Act, 42 U.S.C. § 247d. Proclamation,

       Proclamation on Declaring National Emergency Concerning the Novel Coronavirus

       Disease (COVID-19) Outbreak, White House (Mar. 13, 2020). On March 13, 2020, the

       President of the United States proclaimed that “the COVID-19 outbreak in the United

       States constitutes a national emergency, beginning March 1, 2020.” Id. That same day,

       Texas Governor Greg Abbott announced that COVID-19 “poses an imminent threat of

       disaster” and declared “a state of disaster for all counties in Texas.” (PTX 119.) Governor




4
 The facts in this subsection are not in dispute and subject to judicial notice. (See Doc. 354 ¶¶ 5–
11; Doc. 355 ¶¶ 1–9.)


                                                 6
   Abbott continued to extend the disaster declaration throughout trial and on August 8, 2020,

   issued yet another extension, stating that “[e]veryone must do their part to slow the spread

   of COVID-19 by wearing a mask, practicing social distancing, and washing your hands

   frequently and thoroughly.” Press Release, Governor Abbott Extends State Disaster

   Declaration for COVID-19, Office of the Tex. Governor (Aug. 8, 2020),

   https://gov.texas.gov/news/post/governor-abbott-extends-state-disaster-declaration-for-

   covid-19. On March 25, 2020, President Trump also declared that a “major disaster” exists

   in the State of Texas due to COVID-19. Statement & Release, President Donald J. Trump

   Approves       Texas       Disaster,      White        House       (Mar.    25,      2020),

   https://www.whitehouse.gov/briefings-statements/president-donald-j-trump-approves-

   texas-disaster-declaration-6/.

9. Common symptoms of COVID-19 include, but are not limited to, fever, cough, fatigue,

   shortness of breath, and loss of smell and taste. While most cases result in mild symptoms,

   other cases may progress to acute respiratory distress syndrome (“ARDS”), multi-organ

   failure, septic shock, blood clots, other serious illnesses, and death.

10. COVID-19 is highly communicable and primarily spreads between people through close

   proximity or contact. It can also be transmitted by touching contaminated surfaces.

   COVID-19 is also particularly transmissible because of its long incubation period of up to

   two weeks, as well as its asymptomatic or presymptomatic presentation in many

   individuals, which allows infected individuals to unknowingly spread the virus while

   exhibiting only mild or even no symptoms.

11. Individuals over the age of 65, individuals who are severely obese (body mass index greater

   than or equal to 40), and individuals with comorbid conditions—such as individuals who




                                             7
   are immunocompromised, have chronic lung disease, moderate to severe asthma, serious

   heart conditions, or other underlying medical conditions—are at higher risk for serious

   illness or death if they contract COVID-19.

12. There is no vaccine or cure for COVID-19.

C. The Wallace Pack Unit

13. The Pack Unit is a Type-1 Geriatric prison in the Texas Department of Criminal Justice

   (“TDCJ”) prison system. (PTX 1.) It is located in Grimes County, Texas. (Id.) The facility

   has a maximum capacity of 1,478 people. (Id.)

14. As of June 29, 2020, 1,132 people are incarcerated at the Pack Unit. (PTX 7C at 23.)

15. As a Type-1 Geriatric unit, the Pack Unit primarily houses individuals who are elderly

   and/or have health problems. Approximately 800 of those inmates are over the age of 65.

   (Tr. 3-52:25–53:6 (Herrera).)

16. The Pack Unit consists of 20 dorms inside the perimeter fence and a trusty camp outside

   the perimeter. There are 16 dorms in the main building and 4 dorms in the expansion dorm.

   (PTX 2.)

17. Each dorm in the main building can house approximately 54 inmates, except for two

   wheelchair dorms, which can house 30 inmates each. Two of the dorms in the expansion

   dorm have 48 beds each; the other two dorms in the expansion dorm have 93 beds each.

   Each of the trusty camp dorms can house up to 107 inmates. (PTX 2.)

18. When trial began, the Pack Unit had 49 wheelchair-bound inmates and 87 inmates who

   used walkers. (PTX 337 at 2–3.)

19. Most Pack Unit inmates live in small cubicles in a dormitory setting. Each cubicle is made

   of a waist-high wall; each cubicle contains a bunk. The cubicles are set next to each other,




                                            8
   such that each cubicle shares walls with adjacent cubicles. Most inmates are within six feet

   of another inmate when they are sleeping in their bunks. (Tr. 11-81:4–6 (Wilder), 2-91:14–

   92:13 (Rudloff).)

20. The Pack Unit has communal bathrooms. Communal showers are shared by multiple dorms.

   (DTX 14.)

D. Credibility of Defendants

21. At the outset, the Court is concerned about the credibility of Defendants’ representations

   and experts. These concerns are as follows.

22. Before, during, and after trial, counsel for Defendants provided status updates of the

   number of Pack Unit inmates who had tested positive or negative for COVID-19 or who

   had recovered.

       a. The reliability of these numbers, however, is undermined by Defendants’ repeated

           failure to disclose the underlying test results to Plaintiffs or the Court despite

           Plaintiffs’ repeated requests and the Court’s repeated orders. Prior to trial, the Court

           ordered Defendants to produce records of Pack Unit inmate COVID-19 related

           hospitalizations, contract tracing forms or logs, and COVID-19 test results for Pack

           Unit inmates and employees. (Minute Entry July 8, 2020) (granting Plaintiffs’

           Motion to Compel Document Production and Supplemental Discovery Responses

           (Doc. 199)). By the second week of trial, Defendants still had not produced the

           underlying test results and failed to produce the underlying test results even after

           agreeing to do so. (Tr. 10-5:1–9 (Defendants’ counsel).)

       b. Internal communications between TDCJ officials further raise concerns about the

           credibility of the COVID-19 numbers reported to the Court. For example, on May




                                              9
   29, 2020, Lorie Davis texted Billy Hirsch: “Get the list of names from pack that

   back the numbers we provided.” (PTX 338.) Two days later, she stated: “Strike

   team numbers were wrong for pendings on pack.” (Id.) Another text message

   exchange on June 15, 2020 between Ms. Davis and Oscar Mendoza demonstrates

   that TDCJ officials did not have a ready or reliable system for tracking or

   determining the number of inmates who had been hospitalized due to COVID-19.

   (PTX 344.) Following a lengthy exchange regarding the number of hospitalizations,

   Mr. Mendoza texted, “Lorie . . . . I need [an] absolute number . . . Please . . . . what’s

   the final number . . . [I’m] going with 17 Lorie. Your number.” (Id. at 3–4.) The

   Court understands that Defendants were working under difficult and time-pressed

   circumstances, but at no point during trial did Defendants represent to the Court

   uncertainty about these numbers.

c. The credibility of the reported number of inmates who tested positive for COVID-

   19 and who had recovered is further undermined by the way TDCJ conducted mass

   testing in Pack Unit. As will be discussed in greater detail infra, only those inmates

   who had previously tested negative for COVID-19 were tested in subsequent

   rounds of testing. Inmates who had previously tested positive were not retested,

   even if they remained symptomatic.

d. Similarly, the credibility of the reported number of inmates who tested positive for

   COVID-19 and who had recovered is undermined by how TDCJ interpreted the test

   results. First, TDCJ appears to have adopted an opaque system for determining

   which inmates were recovered. On July 14, 2020, Ms. Davis texted Mr. Mendoza

   that there were “13 active positive on Pack today,” but that “[a]s I understood you




                                      10
said Robert said 14 this morning.” (PTX 337 at 3.) She reconciled the discrepancy

as follows: “Offender Mayfield, a previous recovered offender, returned to Pack

last night from HG, who tested positive. We have been counting them only once as

positive and then stay recovered. [S]o it is 13 this morning too. That is part of

reconciling with Robert. Which we are doing as we speak.” (Id. (emphasis added).)

The definition of “recovery” used by TDCJ in practice, however, conflicts with

how TDCJ officially defines recovered inmates, according to Dr. Stephanie Zepeda,

one of Defendants’ experts who helped develop TDCJ’s response to COVID-19.

Dr. Zepeda testified that TDCJ defines recovered as “[n]o longer symptomatic.

They’ve been released from medical isolation.” (Tr. 12-136:1–9 (Zepeda).)

Moreover, internal communications suggest that, even if a Pack Unit inmate tests

positive, they are not counted as positive in the reported numbers unless they are

physically at Pack Unit. On July 15, 2020, Ms. Davis texted Mr. Hirsch asking,

“What is pack active positive this morning.” (PTX 338 at 1.) Mr. Hirsch responded,

“22 when I reconciled yesterday afternoon. JC doesn’t think it’s changed. Jessica

is communicating with Mary to check movement overnight that may have changed

it this morning.” (Id.). He subsequently texted: “There are now 21 active positives

at Pack. O/f Hargrow . . . went to a FWH last night, and is now ert to HG.” (Id.).

Without the underlying test results, the Court is concerned about how Defendants

arrived at the COVID-19 counts they reported to the Court and whether they are

accurate.




                                11
23. Defendants’ credibility is further undermined by actions and modifications to TDCJ’s

   practices that were made right before, and in apparent response to, hearings before this

   Court or the trial itself.

       a. As will be discussed in greater detail infra, while TDCJ officials testified that they

           are conducting mass testing on a weekly basis at Pack Unit, that plan was not

           devised until two weeks before trial. (Tr. 7-53:13–18 (Davis); Tr. 1-50:1–10, 1-

           51:8–10 (Collier)). Indeed, by July 17, 2020, three days after trial commenced, the

           plan was not yet finalized. (PTX 335 at 1 (text from Dr. Linthicum dated July 17,

           2020, stating that “there is not a written plan other than the paper I faxed to you on

           Pack. We were supposed to meet today to finalize the plan at 1:00PM”).) TDCJ

           officials declined to document the long-term testing plan in writing. (Tr. 1-51:11–

           52:25 (Collier).)

       b. TDCJ’s COVID-19 response policy was established on March 20, 2020 and was

           most recently revised on June 11, 2020. (PTX 115.) However, TDCJ did not begin

           discussions to create compliance teams to oversee and ensure that TDCJ was

           following its policy until June 24, 2020, two weeks before trial. (Tr. 10-90:4–10

           (Collier).) Moreover, while a compliance team visited Pack Unit, TDCJ did not

           produce any report or documentation of the compliance team’s findings. (Tr. 10-

           90:22–91:13 (Collier).)

       c. Mr. Collier sent Mr. Monroe, the regional director, to conduct a site visit at Pack

           Unit on July 15 or 16, 2020, based on testimony from inmate witnesses at trial. (Tr.

           10-97:17–98:11, 10-160:12–14 (Collier)). Mr. Monroe was removed from

           Defendants’ trial witness list several days later on July 20, 2020, and therefore Mr.




                                            12
          Monroe never testified to his observations during this site visit. (Tr. 10-160:12–19

          (Collier).)

       d. In a text conversation between Lorie Davis and Dr. Linthicum on May 19, 2020,

          the two were discussing whether to move positive inmates at Pack into the SHU.

          When Ms. Davis said that “OM [presumably, Oscar Mendoza] hasn’t been letting

          me move anybody much off pack,” Dr. Linthicum responded, “We can ask him. I

          think it would look more favorable in the Court’s eyes to move them.” (PTX 337

          at 5 (emphasis added).) The Court held a status conference three days later on May

          22, 2020. These statements undermine the Court’s confidence that TDCJ officials

          were following a deliberate strategy to mitigate the spread of COVID-19, rather

          than taking ad hoc steps in response to litigation proceedings.

       e. Shortly before trial, TDCJ placed red tape on the floors in Pack Unit to demarcate

          social distance spacing, a measure which Defendants acknowledge could easily

          have been implemented months prior, in the early stages of the pandemic. (Tr. 4-

          108:2–109:22). A photograph revealed in post-trial evidence production dated July

          12 further raises the possibility that the tape had subsequently been removed. (PTX

          327.)

24. Defendants have misrepresented certain facts. In a status update to this Court, TDCJ

   claimed to have moved positive inmates to Dormitory 2 in an effort to further social

   distancing. (Doc. 126-1 at 10.) When at trial an inmate testified that he had been housed

   with positive inmates in Dormitory 2 after he tested negative for COVID-19, Mr. Herrera

   denied that TDCJ moved positive inmates into Mr. Beal’s dorm. (Tr. 4-183:15–184:12

   (Herrera).) Additionally, on May 11, 2020, TDCJ’s website announced that Pack Unit had




                                           13
   10 positive tests. (PTX 65 at 3.) Yet, TDCJ reported to the Fifth Circuit in a letter that 22

   inmates at Pack Unit had tested positive. (PTX 64 at 1.)

25. Finally, Defendants’ experts Ms. Follenweider and Dr. Beard each relied on a single, pre-

   arranged visit to the Pack Unit. Their credibility as neutral and accurate observers of

   conditions on the ground is thereby reduced. (Tr. 13-33:11–24 (Follenweider); Tr. 14-

   107:16–21 (Beard).) These visits, which Defendants expressly stated they needed to “plan”

   for, do not have the same indicia of reliability as testimony by TDCJ inmates who observed

   conditions in the Pack Unit on a daily basis. (PTX 343 at 1.) Even Defendants’ other expert,

   Dr. Zawitz, emphasized the importance of unstaged visits for an expert to be able to form

   a credible and reliable opinion about the conditions and public health practices at the Pack

   Unit. (Tr. 9-29:16–30:13 (Zawitz).)

E. COVID-19 Spread in the Pack Unit

26. On March 30, 2020, when this suit was filed, there were no known cases of COVID-19 in

   the Pack Unit. (See generally Doc. 1.)

27. Leonard Clerkly was the first Pack Unit inmate who tested positive for COVID-19. He died

   on April 11, 2020. His positive COVID-19 test was confirmed via autopsy on April 13.

   The next day, April 14, TDCJ announced that Mr. Clerkly’s death was due to “viral

   pneumonia due to COVID-19.” (PTX 41 at 1.)

28. The second positive case of COVID-19 in the Pack Unit was discovered on April 15, 2020.

   (PTX 42 at 3.)

29. On May 9, 2020, TDCJ announced 8 positive test results at the Pack Unit. (PTX 63 at 3.)

   On May 11, 2020, TDCJ announced on its website that there were 10 positive tests. (PTX

   65 at 3.) By May 16, 2020, the number of positive tests reported by TDCJ had jumped to




                                            14
   32. (PTX 74 at 3.) And by May 27, 2020, TDCJ reported that 5 Pack Unit inmates who had

   tested positive for COVID-19 had died, 12 were hospitalized, and 191 others had tested

   positive. (PTX 76 at 6–7.)

30. As of July 24, 2020, over 497 Pack Unit inmates had tested positive for COVID-19, 74

   inmates had been hospitalized, and 19 people had died. (Doc. 356-18 at 22 (collecting data

   from various admitted trial exhibits).) Since trial, at least one other COVID-19 positive

   inmate at the Pack Unit has died, bringing the total number of deaths to 20. (Tr. 13-42:5–

   7 (Follenweider).) By contrast, there were 11 natural deaths at the Pack Unit in all of 2019.

   (PTX 335 at 2.) In total, at least 505 Pack Unit inmates have tested positive. (Tr. 13-42:7–

   11 (Follenweider); Tr. 12-132:19–24 (Zepeda).)

31. The risk to Pack Unit inmates increases as the number of COVID-19 cases in Texas climbs,

   because employees and staff come in and out of the prison. Mr. Collier recognized this

   increased risk when he testified that “we have a bigger threat of COVID now than we did

   in March, a significantly higher threat because more people have COVID. And that risk of

   our employees being in the community around more people with it I think is higher than it

   was even a few months ago.” (Tr. 10-7:16–21 (Collier).)

32. Post-trial, the Court requested an affidavit from Defendants summarizing the history of

   strike team testing at the Pack Unit. Defendants provided the following information to the

   Court (Docs. 379, 381):

         Date          Total Tests        # Negative          # Positive        Invalid / Not
                                                                                  Returned
    May 12-14         1,179            1,030              144                 5
    June 23-25        878              690                172                 16
    July 9-10         697              676                15                  5
    July 21-22        677              665                2                   10
    July 28-30        666              636                13                  17
    Aug 5-6           642              636                4                   2


                                            15
        Aug 10-12          638            635                 1                2
        Aug 18-19          633            Not yet reported    Not yet reported Not yet reported


       As the above chart demonstrates, during the August 10-12 round of testing, TDCJ reported

       one positive test among inmates. By August 31, more individuals had tested positive, as

       the TDCJ website reported 14 active cases of COVID-19. As of September 28, the TDCJ

       website listed 4 active cases among inmates at the Pack Unit indicating that COVID-19 has

       not been fully contained.5

    33. Defendants also summarized the history of testing of employees at the Pack Unit as follows

       (Docs. 379, 381):

             Date          Total Tests      # Negative          # Positive       Invalid / Not
                                                                                  Returned
       May 12-14           288            30                 2                 256
       June 3-6            262            249                12                1
       June 22-25          271            258                13                0
       July 9-10           245            241                3                 1
       July 21-22          250            242                6                 2
       July 28-30          246            238                1                 7
       Aug. 2-5            248            243                1                 4
       Aug. 10-12          248            240                1                 7
       Aug. 18-19          250            Not reported       Not reported      Not reported


       As of September 28, the TDCJ website listed 62 employees who have been infected and

       “recovered,” and 1 active employee case.6

    F. Initial Measures Taken by TDCJ

    34. TDCJ Executive Director Bryan Collier first began discussing TDCJ’s response to

       COVID-19 with Dr. Lanette Linthicum, Director of the Health Services Division for TDCJ,


5
  Texas Department of Criminal Justice, COVID-19 Update (Sept. 28, 2020),
https://txdps.maps.arcgis.com/apps/opsdashboard/index.html#/dce4d7da662945178ad5fbf3981fa
35c.
6
  Id.


                                               16
   and Ms. Lorie Davis, Director of the Correctional Institutions Division of TDCJ, at the end

   of February 2020. (Tr. 9-185:9–16 (Collier).)

35. On March 4, 2020, Mr. Collier and Dr. Linthicum first met with representatives from the

   University of Texas Medical Branch (UTMB) and Texas Tech Health Sciences Center. (Tr.

   9-188:17–189:16 (Collier).)

36. A follow-up meeting with the UTMB and Texas Tech representatives took place on March

   11, 2020. (Tr. 9-189:14–16 (Collier).)

37. On March 13, 2020, the Office of the Governor granted TDCJ’s request to suspend all in-

   person inmate visitation at all TDCJ units. (Tr. 9-195:5–17 (Collier).)

38. On March 16, 2020, TDCJ activated the “Command Center” at the TDCJ Administrative

   Headquarters Building in Huntsville and began having daily conference calls to discuss

   TDCJ’s COVID-19 response. (DTX 38 at 1; Tr. 9-227:19–21 (Collier).)

39. On March 20, 2020, the Office of the Governor granted TDCJ’s request for a statutory

   waiver of all inmate medical copays. (PTX 21 at 1.)

40. On March 24, 2020, TDCJ began manufacturing masks for its staff and inmate population

   and distributed them first to individuals who were 65 years or older. (Tr. 9-202:20–25, 9-

   203:18–24 (Collier).)

G. The CMHC B-14.52 Policy

41. The Correctional Managed Health Care Committee (“CMHCC”) had its first meeting to

   discuss planning and response to COVID-19 at TDCJ on February 26, 2020. CMHCC is a

   statutorily created body responsible for developing the inmate healthcare plan in TDCJ. Its

   membership is comprised of representatives from TDCJ, Texas Tech, and UTMB, as well

   as several governor-appointed positions. (Tr. 12-56:19–23 (Zepeda).) It is a separate entity




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       from TDCJ. Dr. Lannette Linthicum, Director of the Health Services Division for TDCJ,

       is TDCJ’s representative on CMHCC. (Tr. 12-55:4–8 (Zepeda).)

    42. The Correctional Managed Health Care (“CMHC”) B-14.52 Policy (“Policy B-14.52” or

       “B-14.52”) is CMHCC’s policy on how to manage COVID-19 in TDCJ facilities. (PTX

       108 at 1.) It was drafted by a subcommittee of the Joint Infection Control Committee

       (“JICC”)7 and approved by the three CMHCC joint medical directors: Dr. Owen Murray

       for UTMB, Dr. Denise DeShields for Texas Tech, and Dr. Lannette Linthicum for TDCJ.

       (Tr. 12-55:4–8 (Zepeda).)

    43. Although B-14.52 was designed to manage COVID-19 in TDCJ facilities, CMHCC did

       not seek any input from Ms. Davis nor apparently from any other TDCJ official in

       designing the policy. Ms. Davis testified that she was not at all involved in drafting B-

       14.52. (Tr. 7-41:3–25 (Davis).) She testified that she did not provide any information to

       CMHCC regarding TDCJ’s individual facilities’ physical space, staffing population,

       inmate population, or operations or other resources. (Tr. 7-42:10–43:9 (Davis).) Mr.

       Sullivan testified that he was not authorized to change B-14.52 and that his job was just to

       follow the policy. (Tr. 6-230:23–231:14 (Sullivan).) Mr. Herrera also testified that he did

       not have any authority to make any changes to B-14.52. (Tr. 3-95:15–18 (Herrera).)

    44. Dr. Stephanie Zepeda testified about her involvement in developing B-14.52 as a member

       of JICC. (Tr. 12-53:14–19 (Zepeda).) Dr. Zepeda admitted, however, that she had not been

       to the Pack Unit in many years, and she did not have personal knowledge of how B-14.52




7
 The Joint Infection Control Committee is a subcommittee of CMHCC responsible for overseeing
and coordinating statewide healthcare services. (Tr. 12-54:3–6 (Zepeda).)


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   was implemented at the Pack Unit or any other TDCJ unit. (Tr. 12-118:15–119:12

   (Zepeda).)

45. The first version of Policy B-14.52 was approved and adopted by the joint medical directors

   on March 20, 2020. (PTX 108 at 1.)

46. Policy B-14.52 applies to all 104 TDCJ institutions and healthcare facilities, including the

   Pack Unit. (Tr. 1-68:24–69:18 (Collier).) There are no COVID-related policies or

   supplements that are specific to the Pack Unit. (Tr. 1-69:14–21 (Collier).) Mr. Mendoza

   attested in his video deposition that “[t]here would be no policies specifically developed

   for the Pack Unit. The policies that are being developed . . . are mitigating measures for

   TDCJ and all of its facilities.” (Tr. 7-30:2–5 (Mendoza).)

47. There have been six updates made to Policy B-14.52 since the first version was adopted on

   March 20, 2020. (DTX 2–7.)

48. On March 23, 2020, three days after Policy B-14.52 was first adopted, the Centers for

   Disease Control (CDC) posted its Interim Guidance on Management of Coronavirus

   Disease 2019 (COVID-19) in Correctional and Detention Facilities. (PTX 88.)

49. The second version of Policy B-14.52 went into effect on March 27, 2020. This second

   version incorporated recommendations contained in the CDC’s interim guidance on

   correctional and detention facilities. (DTX 2.)

50. Policy B-14.52 and all its revisions were disseminated to the wardens by Lorie Davis,

   Director of the Correctional Institutions Division. The wardens of the prisons are

   responsible for making sure that the measures in Policy B-14.52 are implemented in their

   prisons. (Tr. 7-10:17–23 (Davis).)




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H. Implementation of Preventative Measures at the Pack Unit

               i. Social Distancing in Common Spaces

51. Social distancing is the practice of maintaining a sufficient distance from another person

   to lower the risk of contracting a contagious disease like COVID-19. (Tr. 4-243:1–5

   (Young).) Social distancing of six feet is an important measure in preventing the spread of

   COVID-19 at Pack Unit. (Tr. 4-243:6–18 (Young), Tr. 9-95:22–96:3 (Zawitz).)

52. Although Policy B-14.52 requires use of cloth face masks at all times, the wearing of masks

   does not replace the need for social distancing under the policy. (PTX 115 at 5.)

53. According to the Pack Unit social distancing plan, created by Warden Herrera, some social

   distancing measures were put into place at Pack Unit before the unit was placed on

   precautionary lockdown. Dayroom access was limited, based on a rotating schedule, and

   inmates would be kept six feet apart at the pill window. (DTX 35 at 1–2.)

54. Although Warden Herrera’s social distancing plan stated that one dorm would be fed at a

   time in the dining hall, allowing each inmate to have his own table, (DTX 35 at 1),

   undisputed testimony stated that two dorms were fed at a time, necessitating at least two

   inmates to be seated at each table, (Tr. 2-40:17–41:10 (King), Tr. 3-33:4–12 (Reynolds),

   Tr. 2-179:10–16 (Beal), Tr. 3-249:5–10 (Herrera).) With two inmates seated per table, there

   was no way for inmates to maintain six feet of distance from each other. (Tr. 2-67:8–10

   (King), Tr. 2-179:10–16 (Beal)), (Tr. 11-160:20–163:13 (Wilder).) One inmate, Mr.

   Pennington, testified that, when feeding inmates started taking too long, TDCJ started

   sitting three or four inmates per table again. (Tr. 2-256:13–17 (Pennington).)

55. After Mr. Clerkly tested positive for COVID-19, the Pack Unit went on precautionary

   lockdown. (Tr. 3-248:1–7 (Herrera).) During precautionary lockdown, inmates are




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   primarily confined to their dorms. Common areas like the dining hall, recreation yard, law

   library, education room, and the dayrooms are no longer in use. Inmates receive their meals

   and their medication in their dorms. Inmates still leave their dorms to shower if their dorm

   does not have adjoining showers, and if they need to go to the medical wing. (Tr. 3-248.12-

   249:25 (Herrera).)

56. Inmates living in dorms without adjoining showers continue to shower in showers that are

   shared by multiple dorms. (Tr. 1-157:6–22 (Valentine), Tr. 2-202:2–11 (Butaud).) A full

   dorm goes down to shower together at the same time. (Tr. 1-157:14–16 (Valentine), Tr. 2-

   245:10–15 (Pennington).) With an entire dorm at the showers at once, there is no possibility

   of social distancing, because the showers are right next to each other. (Tr. 1-157:6–22

   (Valentine), 2-202:12–15 (Butaud).) This is especially a problem for handicapped inmates,

   who have to wait on handicap benches until a handicap shower becomes free for use. (Tr.

   1-157:14–18 (Valentine).) The benches become full, so individuals are sitting right next to

   each other without any protection. (Tr. 1-157:14–18 (Valentine).) Mr. Pennington testified

   that, although the showers are only to be used by one dorm at a time, another dorm will

   begin showering while he is still in the showers. (Tr. 2-245:23–247:2 (Pennington).)

57. Warden Herrera testified that the policy at Pack Unit is to keep inmates six feet apart while

   they are in the hallways. (Tr. 4-17–22, 4-56:1–4 (Herrera)). Officers sometimes enforce

   social distancing in the hallways, but not consistently. (Tr. 2-179:22–180:2 (Beal), Tr. 3-

   32:7–9 (Reynolds).) The Pack Unit Social Distance Plan does not include any policies on

   social distancing in the hallways. (DTX 35.)




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58. Around the beginning of July, the Pack Unit placed for the first time red tape on the floor

   marking six feet of distance in the hallways and on the floor leading to the shower area.

   (Tr. 4-108:2–17 (Herrera).)

               ii. Social Distancing Within the Dorms

59. Multiple inmates testified that they cannot socially distance while they are in their cubicles.

   (Tr. 1-157:23–158:8 (Valentine); Tr. 2.1-17:23–18:5 (King).) If inmates occupy

   neighboring cubicles, they are only a few feet apart at most, and may even be within a foot

   of each other, depending on where the inmates are in their cubicles. (Tr. 1-158:2–8

   (Valentine); Tr. 2-18:3–12 (King); Tr. 2-91:14–22 (Jones); Tr. 2.2-201:19–21 (Butaud).)

   The cubicle walls are 43 inches high, (Tr. 11-81:4–6 (Wilder)), and do not provide a barrier

   between inmates that would protect against COVID-19 transmission when they are either

   seated or standing. (Tr. 1-158:2–8 (Valentine); Tr. 2-18:18–20 (King); Tr. 2.1-92:6–13

   (Jones); Tr. 2-200:23–201:5 (Butaud).)

60. No one at TDCJ has ever instructed Pack Unit inmates to sleep head-to-foot in order to

   increase social distancing in the dorms. (Tr. 1-105:6–14 (Collier); Tr. 1-158:9–12

   (Valentine); Tr. 2-21:16–20 (King).) Mr. Collier testified that he had a discussion with Ms.

   Davis in May about sleeping head-to-foot, and Ms. Davis and her staff “had significant

   concerns” and felt it would “create potential issues . . . that may outweigh the benefits,”

   such as compliance issues. (Tr. 10-50:9––51:8 (Collier).) Mr. King testified that he felt

   uncomfortable sleeping with his head facing the opening of his cubicle. (Tr. 2-51:15–52:

   12 (King).) Warden Wilder cited similar concerns among inmates as a reason for not

   advising inmates to sleep head-to-foot. (Tr. 11-80:20–81:3 (Wilder).)




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61. Multiple inmates testified that there were empty cubicles in their dorms during the

   pandemic, and yet, no TDCJ staff members ever rearranged inmates within their dorms to

   spread them out and facilitate social distancing. (Tr. 1-160:2–11 (Valentine); Tr. 2-201:6–

   14 (Butaud).)

62. Two dorms in E-wing, 17 Dorm and 19 Dorm, were under construction when the pandemic

   began, and so, did not hold any inmates. (Tr. 3-64:1–5 (Herrera).) Construction on the

   dorms was completed April 5, 2020. (Tr. 3-64:14–15 (Herrera).) Together, 17 Dorm and

   19 Dorm had a total capacity of 167 inmates. (PTX 2 at 3.)

63. TDCJ held the dorms empty while it considered moving inmates from a geriatric dorm in

   Estelle Unit into the Pack Unit dorms. (Tr. 9-193:7–25 (Collier).) The plan to move inmates

   from Estelle Unit into the E-wing dorms was abandoned at some point in mid-April. (Tr.

   7-16:25–17:25 (Mendoza).) Instead, TDCJ decided to “allow Warden Herrera” to use both

   dorms for Pack Unit inmates. (Tr. 7-17:9–12 (Mendoza).) No prisoners were moved into

   17 Dorm or 19 Dorm until May 4, 2020. (Tr. 3-70:12–15 (Herrera).)

64. The education building was repurposed in mid-to-late April to house inmates, in order to

   facilitate separation of inmates with pending or positive test results from those with

   negative test results. (Tr. 3-219:17–220:8 (Herrera); Tr. 11-56:18–21 (Wilder).)

65. Non-dorm spaces within Pack Unit other than the education building have not been used

   to house inmates. TDCJ notes that spaces like the gymnasium are not air-conditioned, so

   inmates who are class members in the air-conditioning settlement cannot be housed there.

   (Tr. 4-58:4–10 (Herrera); Tr. 11-67:23–3 (Wilder).) However, there have been no plans or

   discussions to consider using the gymnasium for inmate housing after summer ends, when

   TDCJ has no obligation to air-condition any housing units. (Tr. 1.1-82:2–15 (Collier).)




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66. Mr. Collier testified that he has never had discussions with anyone about potentially using

   early release of inmates as a method of increasing social distancing within Pack Unit. (Tr.

   1-115:16–116:11 (Collier).)

67. Mr. Collier testified that TDCJ has not delayed release of individuals scheduled for release

   on parole, unless the individual is on medical restriction or isolation. (Tr. 1-115:22–116:11;

   Tr. 10-61:10–17, Tr. 10-194:21–23 (Collier).) However, one inmate testified that his

   release has been delayed because no one has approved his intended housing. (Tr. 3-15:13–

   16, Tr. 3-29:7–10 (Reynolds).) It is unclear why his approval has been delayed, and

   whether the delay is caused by an employee of TDCJ or an employee of the Texas Board

   for Pardons and Paroles, a separate agency. Mr. Reynolds knows of other Pack inmates

   who are in similar positions on the parole issue. (Tr. 3-24:13–24 (Reynolds).)

              iii. Hand Hygiene

68. Before the pandemic, inmates received five small bars of soap per week. Inmates continue

   to receive an allotment of five bars of soap a week. (Tr. 11-60:15 (Wilder).) However, they

   are given access to additional soap as necessary. (Tr. 1-53:22–24 (Collier); Tr. 2.2-255:13–

   19 (Pennington); Tr. 11-61:6–10 (Wilder).) Currently, boxes of soap are available to

   inmates without restriction at officers’ podiums in the hallway and at the laundry exchange,

   near the showers. (Tr. 2-254:15–255:15 (Pennington); Tr. 11-61:6–10 (Wilder).) Inmates

   have testified that they have previously attempted to obtain extra soap when the boxes were

   empty and had been denied by officers. (Tr. 1-166:15–167:4 (Valentine); Tr. 2-136:6–14

   (Jones).) Other inmates testified that when the boxes of soap are empty, officers will bring

   more soap within a few hours. (Tr. 2-49:5–7 (King).)




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69. Prior to the pandemic, inmates received one roll of toilet paper per week. Inmates continue

   to receive one roll once a week, on Fridays. (Tr. 11-61:20–24 (Wilder); Tr. 1-178:25–179:7

   (Valentine).) However, they may now ask officers for an extra roll of toilet paper when

   they run out. (Tr. 11-62:10–20 (Wilder).) But inmates have testified that they have been

   consistently denied additional toilet paper when they ask for more. (Tr. 1-179:16–180:16,

   181:18–22 (Valentine); Tr. 2-101:4–15 (Jones); Tr. 2-203:22–204:7 (Butaud).) These

   inmates were told by officers that they did not have extra toilet paper, and that they would

   have to wait until their usual allotment on Friday. (Tr. 1-180:4–16 (Valentine); Tr. 2-

   101:9–11 (Jones); Tr. 2-204:1–10 (Butaud).) Mr. Jones testified that his dorm has never

   been notified by TDCJ that they may receive additional toilet paper upon request. (Tr. 2-

   101:12–15 (Jones).)

70. TDCJ has never provided tissues to the inmates. (Tr. 1-179:6–7 (Valentine); Tr. 2-101:1–

   3 (Jones); Tr. 2-203:20–21 (Butaud).)

71. Without access to tissues or enough toilet paper, inmates have been sneezing and coughing

   into their hands. (Tr. 1-179:6–15 (Valentine).)

72. Inmates have one face towel, which they can exchange every day. (Tr. 3-186:5–7 (Herrera).)

73. Multiple dorms had broken sinks for a significant portion of this pandemic. Mr. Valentine’s

   current dorm, C Wing 11 Dorm, had at least one broken sink for about a month. (Tr. 1-

   167:11–16, 168:4–7 (Valentine).) The entire time that Mr. Valentine was in 14 Dorm, only

   five of the nine sinks worked; a fifth sink broke right before he was transferred. (Tr. 1.2-

   168:16–21 (Valentine).) 12 Dorm, only four out of the nine sinks were working until about

   a week-and-a-half before trial started. (Tr. 2-204:11–205:1 (Butaud).) The same dorm still




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    has no hot water and only one toilet for the entire dorm of 54 people. (Tr. 2-204:16–19

    (Butaud).)

74. At trial, TDCJ officials represented for the first time that they are in the process of installing

    temporary handwashing stations around Pack Unit. (Tr. 3-186:8–10 (Herrera).) Warden

    Herrera testified that Mr. Mendoza showed him a picture of the temporary handwashing

    stations for the first time a few days before trial began. (Tr. 3-221:15–18 (Herrera).)

    Warden Herrera agreed that they would be useful for Pack Unit. (Tr. 3-222:4–6 (Herrera).)

    The temporary handwashing stations arrived at Pack Unit a few days into trial and were

    placed in the hallways and near the gates at Pack Unit while trial was underway. (Tr. 3-

    222:17–223:1 (Herrera).) Some, but not all units received temporary handwashing stations.

    (Tr. 10-66:16–24 (Collier).)

75. TDCJ has never provided hand sanitizer to Pack Unit inmates. (Tr. 1-64:4–5 (Collier).)

76. Providing hand sanitizer in addition to soap and water, particularly where hand washing at

    a sink is not readily available, is an important measure in stopping the spread of COVID-

    19. (Tr. 4-227:21–229:15 (Young); Tr. 9-95:9–17 (Zawitz).) Hand sanitizer increases ready

    access to cleanliness, and medical studies and journal articles show that hand sanitizer is

    effective at killing COVID-19. (Tr. 4-229:8–15, 230:10–231:14 (Young).)

77. Access to hand sanitizer is particularly critical to mobility-impaired inmates in wheelchairs

    who have difficulty keeping their hands clean. In traveling to and from the sink to wash

    their hands with soap and water, wheelchair-bound inmates must touch the tires of their

    wheelchairs, which may track dirt, urine, fecal matter, or germs from the floor. (Tr. 2-95:4–

    96:16 (Jones); Tr. 2-193:15–22 (Butaud) (“[I]f I wash my hands, I’ve got to turn around

    and roll myself with the wheelchair away from the sink. . . . So they get dirty again.”); Tr.




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    2-160:4–11 (Beal) (explaining that he was unable to return to his cubicle after washing his

    hands with his hands still clean because he had to touch the wheels of his wheelchair); Tr.

    2-193:15–22 (Dove).) TDCJ did not perform an analysis to determine whether hand

    sanitizer could be provided to wheelchair-bound inmates at Pack Unit. (Tr. 1-75:21–76:16

    (Collier).)

78. Access to hand sanitizer is also important for Pack Unit inmates whose medical conditions

    impair their mobility. (Tr. 1-169:13–170:3 (Valentine) (explaining that, due to his stroke,

    it is difficult for him to walk to the sink to wash his hands in preparation for a meal or after

    coughing or sneezing into his hands); Tr. 2-247:11–17 (Pennington) (explaining that it is

    difficult for him to walk from his cubicle to the sink due to a large tumor and that the

    distance prevents him from cleaning his hands as frequently as he would like).)

79. Jails and prisons across the country have provided inmates with hand sanitizer to combat

    the spread of COVID-19. Examples of such facilities include Cook County Jail in Chicago,

    Illinois, where Defendants’ experts Dr. Zawitz and Ms. Follenweider work or worked, (Tr.

    9-87:14–88:1 (Zawitz); Tr. 12-228:6–21 (Follenweider)), and the California prison system,

    which Defendants’ expert Dr. Beard used to run, (Tr. 14-187:6–20 (Beard).) California is

    one of approximately 30 states that are providing hand sanitizer to inmates. (Tr. 14-187:12–

    20 (Beard).) At TDCJ’s Roach facility, inmates are entrusted with handling hand sanitizer,

    including rebottling hand sanitizer bought in bulk for TDCJ staff use. (Tr. 1-76:23–77:1

    (Collier).)

80. As with these facilities, it is possible for Pack Unit to devise a plan to safely distribute hand

    sanitizer to inmates. (Tr. 14-188:6–12 (Beard); PTX 340 at 1–2 (Collier text message




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   stating in a text that “[i]f we need to [provide hand sanitizer to inmates] we know we can

   figure it out so it is your call”).)

               iv. Cleaning and Sanitation

81. At the Pack Unit, inmates work as dorm janitors, also called service support inmates (“SSI”

   or “janitor”). Janitors are responsible for cleaning everything in their assigned dorm other

   than individual cubicles, including the adjoining bathrooms and dayrooms. (Tr. 2-23:1–

   24:1 (King).) Janitors work in pairs, in 12-hour shifts. (Tr. 2-88:13–17 (Jones).)

82. TDCJ did not increase the number of janitors at Pack Unit in response to COVID-19. (Tr.

   3-137:19–24 (Herrera).)

83. At the beginning of each 12-hour shift, each pair of dorm janitors receives cleaning supplies

   from TDCJ staff members. (Tr. 2-24:19–24 (King).) The janitors did not receive any

   training from TDCJ. (Tr. 2-24:14–16 (King).) Each pair of janitors receives two ounces of

   a liquid disinfectant that is manufactured by TDCJ, called Double D. (Tr. 2-24:17–24

   (King).) They also receive two ounces of a scouring powder, called Bippy, which is similar

   to Comet cleaner. (Id.) The TDCJ staff member also pours about a quarter-cup of powder

   bleach into a standard mop bucket. (Id.; Tr. 2-150:1–7 (Jones).) Mr. King testified that two

   dorms share a small, gallon-and-a-half plastic pump-up bleach sprayer, which TDCJ

   officials place some powder bleach in at the beginning of the shift and janitors fill with

   water. (Tr. 2-25:22–26:7 (King).) He testified that the bleach sprayer is empty halfway

   through the shift, and so to conserve the bleach solution janitors sometimes dilute it with

   water—even so, the solution is depleted by mid-afternoon. (Tr. 2-26:8–12 (King).)

84. These are the same cleaning supplies that were provided to janitors before COVID-19. (Tr.

   2-87:8–19 (Jones).)




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85. Prior to the preliminary injunction hearing in this case in April, each pair of janitors was

   only given one pair of gloves to share. (Tr. 2-66:6–14 (King).) Each janitor is now provided

   a pair of clean vinyl gloves at the beginning of the shift. (Tr. 2-59:16–28 (King).)

   Additional gloves are often not available, even upon request. (Tr. 2-89:18–22 (Jones).)

86. Multiple inmates who currently serve as inmate janitors testified as to their experiences as

   janitors. The janitors testified that the cleaning supplies provided at the beginning of a 12-

   hour shift only last until halfway through the shift. (Tr. 2-25:4–15 (King); Tr. 2-87:20–25

   (Jones).) Mr. Jones testified that janitors may run out of cleaning chemicals even more

   quickly depending on how many inmates have accidents in the shower or in the bathroom.

   (Tr. 2-88:1–8, Tr. 2-88:13–17 (Jones).) He also testified that, after half the dorm is mopped,

   the bleach in the mop bucket is already dirty and thus often must be thrown out and

   certainly does not last all day. (Tr. 2-88:9–12 (Jones).) No new supplies are provided until

   the start of the next shift. (Tr. 2-25:16–18 (King); Tr. 2-88:18–89:25 (Jones) (“[W]hen it’s

   out, it’s out. Everything is out until the second shift.”).) Mr. King testified that the amount

   of cleaning supplies has not increased during the pandemic, and as of July 14, the date of

   his testimony, he was still receiving the same amount of cleaning chemicals. (Tr. 2-24:11–

   21, 67:21–68:24 (King).) The inmates also testified that requests for more cleaning

   products by inmate janitors have been denied. (Tr. 2-26:13–27:4 (King) (testifying that he

   was told by Ms. Maxie, a TDCJ staff member who distributes the chemicals, that “we get

   what we’re going to get”); Tr. 2-89:2–8 (Jones).) The Court finds the testimony of

   individual janitors with direct knowledge of their day-to-day activities more credible than

   statements by high-level TDCJ officials about the same.




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87. While pump sprayers containing bleach solutions are available for inmates to use to clean

   their individual cubicles, multiple inmates testified that multiple dorms share each sprayer,

   such that the sprayers run out of solution halfway through the day. (Tr. 2-25:4–18 (King).)

88. While some inmate janitors have helped inmates spray down their cubicles, there are rules

   that forbid any inmate, including those working as janitors, from entering another inmate’s

   cubicle. (Tr. 2-69:3–11 (King).)

89. Inmate janitors are assigned to clean the dorms in which they live. In wheelchair dorms,

   all inmates are in wheelchairs, so the inmate janitors are also in wheelchairs. (Tr. 2-83:1–

   5 (Jones).) Multiple janitors testified that, due to their physical and medical conditions,

   they had great difficulty cleaning the dorms. Marvin Jones, a wheelchair-bound janitor,

   testified that it is very difficult to mop using the TDCJ-issued mop and bucket while using

   a wheelchair. (Tr. 2-83:6–16 (Jones).) He described the difficulty as follows: “Being in a

   wheelchair, trying to sweep and mop, you have to maneuver the wheelchair and grab the

   wheels and maneuver, move forward, move backwards, traverse, all the while trying to

   guide the mop or the broom . . . and also I’m trying to push the mop bucket, as well.” (Tr.

   2–83:8–13 (Jones).) Mr. Jones also testified that it is particularly difficult for him to

   effectively fulfill his cleaning responsibility due to a condition in his right hand that

   prevents him from being able to hold anything, including a mop. (Tr. 2-83:17–24 (Jones).)

   When Mr. Wilder was asked whether he was concerned about disabled inmates serving as

   janitors, Mr. Wilder responded that he was not because inmates “could put a broom against

   his neck and push it with a wheelchair.” (Tr. 11-239:13–19 (Wilder).)

90. Harold Dove is also a wheelchair-bound janitor, who is legally blind and is paralyzed on

   the right side of his body. (Tr. 2-85:18–22 (Jones); Tr. 2-188:17–25, 189:2–6 (Dove).) Mr.




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   Dove testified that he is physically unable to work as a janitor because he is unable to mop

   or sweep. (Tr. 2-190:24–191:4 (Dove).) Both Mr. Dove and his wife wrote to the warden,

   major, captain, and sergeant in April 2020 and complained that Mr. Dove was not capable

   of working as a janitor. (Tr. 2-191:20–192:9, 192:10–24 (Dove).) Neither of them ever

   received a response. (Tr. 2-192:8–9, Tr. 2-192:16–20 (Dove).)

91. Pack Unit was on notice of Mr. Dove’s condition at least as of April 20, 2020, when it

   received a grievance complaining that the inmate’s dorm did not have adequate dorm

   janitors because Mr. Dove was legally blind and another dorm janitor was an above-the-

   knee amputee with only one good arm. (PTX 131 at 45.) Mr. Wilder signed off on a

   response to the grievance on April 23, 2020. (Tr. 11-229:3–9 (Wilder).) As of June 22,

   2020, Mr. Dove was still assigned as a janitor. (PTX 7A at 11008; Tr. 2-194:16–20 (Dove)

   (testifying on July 14 that “[t]he last I looked . . . I was assigned to 4 Dorm as a janitor; so

   if it’s been changed, it’s been since I’ve been in quarantine.”).)

92. Warden Herrera and Warden Wilder testified that Mr. Jones and Mr. Dove were assigned

   to be janitors based on the medical restrictions listed in their health summaries; their health

   summaries did not list medical restrictions that would have prohibited assignment as

   janitors. (Tr. 3-139:17–19, 141:5–8 (Herrera); Tr. 11-231:9–15 (Wilder).) In choosing

   janitors among the wheelchair-bound inmates, no one ever went to personally speak with

   inmates to assess whether they were actually able to perform the job duties. (Tr. 3-144:6–

   10 (Herrera).) Despite a grievance filed by an inmate on April 23, 2020 raising this concern,

   the issue of a blind janitor was not addressed in Warden Wilder’s response to the grievance.

   (Tr. 11-233:17–23 (Wilder).) Mr. Dove was eventually taken off his janitorial assignment.




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   (Tr. 3-141:9–15 (Herrera); Tr. 11-232:10–13 (Wilder).) It is unclear when he was

   reassigned, although the reassignment occurred after mid-June. (Tr. 2-194:16–22 (Dove).)

93. Beginning less than two weeks before trial commenced, around July 4, Pack Unit began

   using an electrostatic sprayer to aid in disinfecting the facility. (Tr. 3-35:16–21, 40:18–

   41:1 (Reynolds); Tr. 3-186:15–187:1 (Herrera).) The sprayer sprays Vital Oxide, a

   disinfectant, in a mist. (Tr. 3-216:23–217:18 (Herrera).) A staff member has used the

   sprayer on at least two occasions to spray all parts of the Pack Unit with disinfectant. (Tr.

   3-218:8–17, 219:13–16 (Herrera).) Mr. Collier testified that TDCJ tried to acquire Vital

   Oxide in late March or early April, but was unable to purchase it anywhere. (Tr. 10-51:18–

   25 (Collier).) However, Mr. Collier states there are no documents or emails documenting

   such attempts. (Tr. 10-198:5–15 (Collier).)

94. Multiple inmates have testified that the shared showers, which are used by multiple dorms,

   are not cleaned between different dorms. (Tr. 1-164:17–165:6 (Valentine); Tr. 2-202:16–

   203:13 (Butaud); Tr. 2-160:12–15 (Beal); Tr. 2-247:3–5 (Pennington).) Inmates state that,

   upon entering the shower with their dorm, they find dirty razors, bloody bandages, dirty

   diapers, soap, towels, and discarded clothing, left behind by previous dorms. (Tr. 1-

   164:25–165:6 (Valentine); Tr. 2-202:16–203:13 (Butaud).) Mr. Butaud testified that he has

   seen the same bloody gauze in the shower for months. (Tr. 2-203:5 (Butaud).) Thomas Ray

   Pennington testified that he can see the shower area and the inmates being brought into the

   shower area while he is working in the laundry issue room. (Tr. 2-245:25–246:20,

   (Pennington)). Mr. Pennington testified that, most of the time, no one cleans the showers

   between dorms. (Tr. 2-246:16–20 (Pennington).)




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95. As discussed infra, multiple inmates have testified that 16 dorms share the same laundry

   exchange but that the surfaces of the laundry exchange are not cleaned in between use.

               v. Laundry Exchange

96. Inmates exchange their soiled clothing for clean clothing right before they enter the shower

   area through a laundry exchange window. (Tr. 1-162:4–24 (Valentine); Tr. 2-243:12–14

   (Pennington).) Inmates work behind the window, passing out the clean clothes. (Tr. 1-

   162:6–13 (Valentine); Tr. 2-243:6–16 (Pennington).)

97. Inmates place their dirty clothing on a ledge and push the clothing through the window.

   (Tr. 1-162:4–163:7 (Valentine); Tr. 2-98:5–10 (Jones); Tr. 2-168:24–169:9 (Beal).)

   Inmates must touch the ledge with their hands when they push their clothes through the

   window. (Tr. 2-98:15–23 (Jones).) All 16 dorms in the main building use the same laundry

   window for clothing drop-off. (Tr. 2-100:11–18 (Jones).) Multiple inmates testified that

   they had never seen the window ledge being cleaned, even between dormitories using it.

   (Tr. 1-165:13–16 (Valentine); (Tr. 2-99:7–13, 100:20–23 (Jones); Tr. 2-169:10–11 (Beal).)

98. The inmate workers handing out clean clothing wear masks, but the inmates entering the

   showers have already taken their masks off to be exchanged when they interact with the

   inmate workers behind the window. (Tr. 2-243:17–21 (Pennington).) The inmate workers

   place the clean clothing in each inmate’s hands, but the workers are not wearing clean

   gloves. (Tr. 2-244:1–7 (Pennington).) Instead, the inmate workers all share “the same pair

   of long plastic gloves.” (Tr. 2-244:8–11 (Pennington).) Those inmate workers who are not

   provided gloves will sometimes touch their bare hand on another inmate’s bare hand while

   passing out clothing. (Tr. 2-244:12–15 (Pennington).) There is no opportunity for the




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   inmate workers to wash their hands immediately after touching someone else’s hands,

   although they have the opportunity at a later point. (Tr. 2-244:16–20 (Pennington).)

              vi. Masks and Personal Protective Equipment (“PPE”)

99. Under Policy B-14.52, masks “should be worn at all times unless it restricts [sic] breathing

   or interferes with activities of daily living.” (PTX 115 at 5.)

100.       Initially, TDCJ provided only those inmates at Pack Unit who were 65 and older

   with masks. (Tr. 10-109:9–15 (Collier); PTX 299 at 1 (email dated April 13, 2020, stating:

   “Scratch giving the entire Pack Unit two (2) masks. Only the offenders that are 65 and

   older at pack will get a mask”).) Inmates are provided cloth, not surgical, masks. (Tr. 1-

   208:6–9 (Valentine).)

101.       Multiple inmates have observed officers and staff entering negative dormitories in

   full PPE that they had already worn into other dormitories. (Tr. 1-182:7–183:12 (Valentine);

   Tr. 2-33:23–34:10 (King); Tr. 2-103:14–24, 105:17–19 (Jones).)

102.       Multiple inmates have testified that officers will frequently “shakedown” cubicles

   without wearing gloves or without changing their gloves between cubicles. (Tr. 1-184:5–

   12 (Valentine); Tr. 2-34:23–25 (King).) A shakedown is a procedure pursuant to which an

   officer enters an inmate’s cubicle in search of contraband; the process involves touching

   an inmate’s belongings, lifting the mattress and blankets, and inspecting the inside of an

   inmate’s locker and desk. (Tr. 1-183:14–21 (Valentine).) Mr. King testified that he had

   never seen any guards change gloves between cubicles during shakedowns. (Tr. 2-35:2–5

   (King).) Mr. Jones testified that he has seen officers leave a quarantine dorm and enter his

   dorm to conduct a shakedown without changing any PPE or gloves. (Tr. 2-103:19–104:6

   (Jones); Tr. 2-206:14–25 (Butaud) (describing this as an “everyday occurrence”).)




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103.      Multiple inmates have testified that officers will regularly pass out sack meals to

   inmates in their dorms with no gloves on. (Tr. 1-187:7–21 (Valentine); Tr. 2-206:14–25,

   207:18–21 (Butaud).) Mr. Valentine testified that, when one inmate pointed out that the

   officers were not wearing gloves to hand out lunch, the officer responded: “If you don’t

   like it, put it on paper.” (Tr. 1-187:18–23 (Valentine).)

104.      Multiple inmates have testified that they regularly observe officers in the unit who

   are not properly wearing face masks. (Tr. 1-187:7–17 (Valentine); Tr. 2-101:16–102:21

   (“More than once a day.”) (Jones); Tr. 2-206:1–25 (Butaud); Tr. 3-13:23–14:15 (Reynolds);

   Tr. 2-32:20–33:1 (King); Tr. 2-262:17–22 (Pennington).) Inmates have also observed

   officers not wearing masks and not social distancing at the same time. (Tr. 2-102:13–21

   (Jones); Tr. 2-206:6–12 (Butaud); Tr. 3-14:1–3 (Reynolds).)

105.      TDCJ plays a video educating inmates about COVID-19 and protective measures

   to combat the spread of the virus three times a day. That video depicts numerous instances

   of correctional officers not wearing masks or practicing social distancing. (Tr. 10-100:19–

   101:20, Tr. 10-104:12–17 (Collier).)

106.      One inmate listed 13 TDCJ officers, including Mr. Wilder and Mr. Herrera, who

   frequently do not practice social distancing or wear face masks. (Tr. 2-207:1–14 (Butaud);

   Tr. 2-167:5–25 (Beal) (naming five officers, including Mr. Wilder, who frequently did not

   wear their masks).) Multiple inmates testified that Lieutenant Brown frequently did not

   wear a mask inside and outside the dorms, (Tr. 1-185:7–15 (Valentine); Tr. 2-31:11–25

   (King); Tr. 2-167:23–25 (Beal); Tr. 3-13:17–22 (Reynolds)), and in one instance when an

   inmate notified Lieutenant Brown that other officers were not wearing masks in the dorms,




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   he was told to “shut up and go back to [his] bunk,” (Tr. 3-13:10–16 (Reynolds)). Lieutenant

   Brown later tested positive for COVID-19. (Tr. 3-170:21–171:1 (Herrera).)

             vii.        Testing

107.       Prior to mid-April, the only inmates at Pack Unit who received testing were those

   who showed symptoms of COVID-19 and were taken off-site to hospitals for testing. (Tr.

   10-22:12–21 (Collier).) Until Mr. Clerkly’s positive test on April 13, 2020, no Pack Unit

   inmates who had been tested at hospitals had tested positive.

108.       After Mr. Clerkly died and subsequently tested positive for COVID-19 during his

   autopsy, TDCJ tested the 54 inmates who lived in Mr. Clerkly’s dorm. (Tr. 10-24:4–17

   (Collier).) All of the inmates in Mr. Clerkly’s dorm tested negative. (Tr. 10-24:16–17

   (Collier); Tr. 3-189:18–21 (Herrera).) No one else was tested by TDCJ based on previous

   contact with Mr. Clerkly before his death.

109.       Approximately one month following Mr. Clerkly’s death, on May 12, 2020, TDCJ

   conducted its first “strike team testing.” Strike team testing consists of teams of TDCJ

   employees deployed to different units to test inmates and staff who have not previously

   tested positive. (Tr. 3-190:5–10 (Herrera); Tr. 10-26:6–14 (Collier); Tr. 10-24:18–20

   (Collier).)

110.       The strike teams administer a viral test manufactured by Curative Medical Inc.

   called the Curative-Korva test. (PTX 76 at 7.) This test is a type of real time polymerase

   chain reaction (“RT-PCR”) that relies on detecting COVID-19 through oral, rather than

   nasal, swabs. (PTX 76 at 6; PTX 285 at 1–2.) The Food and Drug Administration (“FDA”)

   granted use under an Emergency Use Authorization (“EUA”). (PTX 285 at 1.) The EUA,

   however, is limited to “patients with symptoms of COVID-19” and has not been approved




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       for testing of asymptomatic individuals. (PTX 285 at 1, 3 (“Testing of nasal swabs and oral

       fluid specimens . . . is limited to patients with symptoms of COVID-19.”); Tr. 5-19:13–18

       (Young)). The EUA also advises that negative results from specimens taken from oral

       swabbing “should be confirmed by testing of an alternative specimen type.” (PTX 285 at

       1; Tr. 5-16:18–23 (Young) (“[I]f you have a negative test with [the Curative-Korva] test . . .

       you should retest with a different test.”).)

    111.       The members of the strike team were trained on how to administer the Curative-

       Korva oral swab test, which is self-administered. (Tr. 10-27:15–23 (Collier); Doc. 379-1

       at 3.)8 Strike team members observe while inmates cough into their sleeves three to five

       times to improve the quality of the oral test sample, swab the inside of their mouths, and

       place the swab into a collection tube. (PTX 76 at 7.) After the samples are collected, they

       are shipped overnight to California, where the Curative labs re located. (PTX 76 at 8); (Tr.

       10-131:8–11 (Collier).)

    112.       In the first round of strike team testing, 1,179 inmates and 313 employees at Pack

       Unit were tested. (PTX 76 at 5.) Not all employees were tested. (Tr. 1-156:22–157:1

       (Valentine).) It took 7 to 14 days for Pack Unit to receive test results for the inmates. (Tr.

       10-131:1–4 (Collier).) As of May 26, 2020, TDCJ had received results from only 876 tests;

       of those results, 136 inmates tested positive with 307 tests pending, and 2 employees tested

       positive with 309 tests pending. (PTX 76 at 5.)

    113.       Such prolonged turnaround times for test results impede effective containment of

       the spread of COVID-19. This is because inmates who have not contracted the virus



8
  Post-trial, the Court requested Defendants produce an affidavit outlining the history of mass
testing and test results at the Pack Unit. (Doc. 368.) While not formally admitted into evidence,
the Court relies on the affidavit as it would other fact filings in the case.


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   continue to cohabit and mingle with inmates who are positive pending the results, thereby

   increasing the possibility of transmission. (Tr. 5-15:18–16:23 (Young); Tr. 9-158:17–23

   (Zawitz) (explaining that, when test results take 5 to 14 days, some of the people who test

   negative are necessarily exposed to those that tested positive); Tr. 12-267:5–15

   (Follenweider) (testifying that the long turnaround period for test results is “a frustration”

   because it impedes the ability to effectively protect those who have not yet been exposed

   to the virus).) Dr. Young testified that the standard practice for an outbreak in a confined

   space is to test individuals with a rapid turnaround time for results. (Tr. 5-129:21–130:8

   (Young).)

114.       Curative Labs’s website states that it can receive and return thousands of test results

   in 24 hours. (Tr. 10-132:22–133:2 (Collier).) However, Mr. Collier testified that he did not

   know if TDCJ staff members ever discussed with Curative Labs a 24–48-hour turnaround

   window for test results. (Tr. 10-133:24–134:9 (Collier).) Mr. Collier never instructed his

   staff to try to get results from Curative in any particular time frame, nor did he ever express

   that 7 to 14 days was too long a timeframe. (Tr. 10-134:18–136:4 (Collier).)

115.       When TDCJ received the test results, they did not immediately retest those inmates

   who had been exposed to inmates who tested positive. (Tr. 11-260:16–21 (Wilder) (“There

   was no protocol to do that.”).)

116.       TDCJ did not have any plans to continue strike team testing following the first

   round of testing. (Tr. 7-32:10–35:25 (Mendoza).) As of June 4, 2020, TDCJ still did not

   have any plans, formal or informal, to conduct retesting at Pack Unit. (Tr. 1-49:23–25

   (Collier).)




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117.      Six weeks after the first round of strike team testing, TDCJ conducted a second

   round of strike team testing at Pack Unit from June 23 to 25. (PTX 288 at 1); Tr. 3-200:4–

   8 (Herrera).) Only those inmates who had previously tested negative were tested, for a total

   of 878 inmates tests. (Doc. 379-1 at 3.) In the second round of strike team testing, 172 new

   inmates tested positive for COVID-19. (Doc. 379-1 at 3.)

118.      At some point shortly before trial, Ms. Davis and Dr. Linthicum devised a testing

   plan at Pack Unit referred to as the “long-term care testing” plan. (Tr. 7-53:12–18 (Davis);

   Tr. 1-50:1–10 (Collier).) The plan was authorized by Mr. Collier approximately two to

   three weeks before trial. (Tr. 1-51:8–10 (Collier).) However, it appears that by July 17,

   2020, three days after trial commenced, the plan was not yet finalized. (PTX 335 at 1 (text

   from Dr. Linthicum dated July 17, 2020, stating that “there is not a written plan other than

   the paper I faxed to you on Pack. We were supposed to meet today to finalize the plan at

   1:00PM”).)

119.      The long-term care testing plan is based on the CDC’s guidance for mass testing of

   COVID-19 in nursing homes. (See PTX 98, 99; Tr. 7-53:12–18 (Davis).) Ms. Davis and

   Dr. Linthicum chose to apply the long-term care testing plan to four units—Pack, Duncan,

   Terrell, and Jester III—because the populations at those units were very similar to nursing

   home populations. (Tr. 7-53:19–24, 55:6–22 (Davis).) Ms. Davis testified that she viewed

   these four units as “long-term care facilities,” a term used in the CDC’s guidance on testing

   in nursing homes. (PTX 99 at 2; Tr. 7-58:4–8 (Davis).) The CDC’s guidance on testing in

   nursing homes expressly applies to long-term care facilities. (PTX 99 at 2.)

120.      The plan itself is to test the population, identify individuals who have negative

   results, and retest those with negative results, as well as individuals who were never tested.




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   (Tr. 7-54:1–21 (Davis).) Retesting of individuals with negative results or who have never

   been tested continues every seven days until there are no more positive results returned.

   (Tr. 1-50:20–51:3 (Collier); (Tr. 7-54:1–21 (Davis).) Once there are no more positive

   results coming from a unit, TDCJ will conduct two more tests, seven days apart, then create

   a schedule to continue testing employees at the unit at least every fourteen days. (Tr. 1-

   51:4–7 (Collier)); (Tr. 7-54:13–19 (Davis).) In implementing the long-term care testing

   plan, TDCJ will continue to use the same strike team and same Curative-Korva test that it

   has been using for its previous mass or strike team tests. (Tr. 7-54:1–7 (Davis).)

121.      The long-term care testing plan is nowhere documented in writing. (Tr. 1-51:11–

   12 (Collier); Tr. 7-59:15–60:18 (Davis); PTX 335 at 1; PTX 337 at 2 (text message from

   Mr. Mendoza asking: “Are there any written plans . . . to retest the 4 units. Pack. Duncan.

   And the two others.” Ms. Davis responded: “No sir. Nothing written.”)). There are no plans

   to put it in writing. (Tr. 7-59:15–60:21 (Davis).)

122.      Since TDCJ implemented the long-term care testing plan in early July, it has

   deviated from the seven-day testing cadence it set forth. For instance, the third round of

   strike team testing did not occur until July 9-10, 2020—more than two weeks after the

   previous round of strike team testing. (Doc. 379-1 at 3.) The fourth round of strike team

   testing did not occur until eleven days after that. (Doc. 379-1 at 3; Tr. 8-33:16–18.)

123.      As of July 24, 2020, TDCJ receives results from the Curative-Korva test in about

   four-and-a-half-days. (Tr. 10-32:9–13 (Collier)). The results from one round of testing

   continue to be returned in batches, in a staggered manner. (Tr. 10-45:14–22 (Collier).)

124.      As of July 23, 2020, Warden Herrera had not been notified about the long-term care

   testing plan. (Tr. 4-7:14–19 (Herrera).)




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125.      TDCJ has never had a written plan for its testing protocol. (Tr. 7 31:25–32:9

   (Mendoza).)

            viii.         Quarantining and Isolating

126.      Policy B-14.52 describes the protocol for isolating and quarantining inmates with

   confirmed or suspected COVID-19, or who were potentially exposed to COVID-19. (PTX

   115 at 6–11; Tr. 3-197:17–22 (Herrera).)

127.      Under Policy B-14.52, when inmates test positive for COVID-19, they are placed

   into medical isolation, in which they are housed in a dorm only with individuals who have

   also tested positive. (PTX 115 at 7; Tr. 3-194:10–14 (Herrera).) Symptomatic inmates are

   housed separately from asymptomatic inmates. (PTX 115 at 7.) Medical staff from UTMB

   monitor these inmates by taking temperatures and talking to inmates at least once a day.

   (PTX 115 at 7; Tr. 3-196:20–197:3 (Herrera).) Under the policy, inmates with symptoms

   should be observed at least twice per day. (PTX 115 at 7.)

128.      Individuals suspected of having COVID-19 must also be placed in medical isolation;

   positive test results are not required for isolation. (PTX 115 at 18.)

129.      Symptomatic inmates are kept in medical isolation until at least 72 hours after they

   no longer experience fever without the use of fever-reducing medication and improvement

   in their respiratory symptoms, and at least 14 days have passed since their symptoms first

   appeared. (PTX 115 at 7.) Asymptomatic inmates may be released from medical isolation

   10 days after the collection date of the positive test as long as they have not subsequently

   developed symptoms. (PTX 115 at 7.)

130.      Individuals in a dorm where an inmate has tested positive are placed in medical

   restriction, because of their possible exposure to COVID-19. (PTX 115 at 10; Tr. 3-195:9–




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   13 (Herrera).) Inmates in medical restriction can be released 14 days after the last exposure

   of a case for everyone in the cohort. (PTX 115 at 10.) Those in medical restriction must be

   checked every day for fever and other symptoms. (PTX 115 at 11; Tr. 3-197:4–8 (Herrera).)

131.      A room in the education department is now being used as a quarantine dorm, for

   inmates who are brought back to Pack Unit from off-site hospitals. (Tr. 3-195:22–196:2

   (Herrera).) All inmates who are brought back to Pack are subject to a 14-day quarantine

   before they are returned to the general population. (Tr. 3-196:2–3 (Herrera).) Individuals

   in quarantine are monitored for symptoms. (Tr. 3-196:7–11 (Herrera).)

132.      Inmate testimony at trial shows that these isolation measures are not always

   followed at Pack Unit. Several inmates testified that inmates who had tested negative

   remained in the same dorm as those who tested positive for hours or days. Mr. King

   testified that two inmates in his dorm remained in the dorm for a month after testing

   positive. (Tr. 2-14:14–15:9 (King).) Mr. Jones testified that an inmate in his dorm was not

   removed for two or three days after he first began exhibiting symptoms and was tested. (Tr.

   2-81:23–25 (Jones).) Mr. Jones also testified individuals who tested positive during mass

   testing were not removed from the dorm for over two hours after receiving their positive

   test results, and no one in the dorm was provided additional protective gear. (Tr. 2-82:1–

   14 (Jones).)

133.      Inmates testified that after testing positive and being quarantined they are neither

   medically examined by a doctor or retested for COVID-19 before returning to negative

   dorms. (See, e.g., Tr. 1-155:7–11 (Valentine) (testifying that he neither saw a doctor nor

   was retested for COVID-19 prior to being moved back to a non-segregated dorm); Tr. 2-

   200:11–18 (Butaud) (same).) Mr. Beal testified that he was transferred from a quarantine




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   dorm back to a negative dorm even though he was still symptomatic. (Tr. 2-162:25–165:3

   (Beal).) Mr. Beal spoke to medical and security about his continuing symptoms and filed

   a grievance stating his concern that his transfer would put other inmates at risk, but was

   told that he would nonetheless be transferred because he had completed the minimum

   quarantine period. (Tr. 2-162:25–165:3 (Beal).) Mr. Beal was harassed by inmates in the

   negative dorm because of his symptoms. (Tr. 2-165:4–9 (Beal).)

134.      Mr. Collier was aware that inmates could still be positive for COVID-19 past the

   14-day quarantine period. On April 26, 2020, Mr. Collier received a text informing him

   that “FYI One of our first positives is still testing positive and shedding virus at 21 days.

   The states 14 day isolation with no retesting is questionable at best.” (PTX 346 at 1.)

              ix.         Contact Tracing

135.      There is no written policy, plan, or instructions for contact tracing among inmates

   or staff at TDCJ. (Tr. 1-105:15–106:5 (Collier).) In a text message dated July 4, 2020, Mr.

   Mendoza asked Ms. Davis: “Question . . . when it comes to Contact Tracing . . . do we

   have written procedures on how they should be done???” (PTX 337 at 2.) Ms. Davis

   responded: “Not that I know of,” and explained that staff should fill out a blank form. (PTX

   337 at 2.) Mr. Mendoza also asked whether there “was any training done on how to use the

   Tracing Forms or was it an informal process of ‘here they are,’” (PTX at 2), but there is no

   response in the record. TDCJ appears to use a 48-hour window for contact tracing. (Tr. 1-

   61:22–62:3, 106:16–20 (Collier).)

136.      Even when the contact tracing forms were used, they were not always used properly.

   After Mr. Clerkly’s death, officials did not fill out much of the contact tracing form and

   only listed those individuals who Mr. Clerkly came into contact with on the day he died.




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   (PTX 186 at 3); Tr. 1-108:21–23 (“I see nothing filled out, yes.”) (Collier).) However,

   inmates testified that Mr. Clerkly used to sit in a common area outside of his dorm before

   visiting the infirmary, and not long before he died he had contact with Mr. Valentine and

   several other inmates. (Tr. 1-189:5–10 (Valentine).) None of the inmates was contacted

   related to contact tracing following Mr. Clerkly’s death, nor were any inmates outside of

   Mr. Clerkly’s dorm. (Tr. 1-190:20–24 (Valentine).)

137.      Multiple inmates testified that, after they tested positive for COVID-19, no one

   from TDCJ reached out to them about contact tracing. (Tr. 1-188:22–24 (Valentine); 2-

   157:23–158:14 (Beal); 2-242:14–23 (Pennington).) The inmates were not asked about

   where they had been or who they had close contact with in the days before they were tested

   or became symptomatic. (Tr. 2-158:15–23 (Beal).)

              x.         Education

138.      Educational posters describing the symptoms of COVID-19, how to prevent its

   spread, and what to do if inmates begin feeling ill are placed around the facility. (Tr. 1-

   192:13–17 (Valentine); Tr. 11-69:1–4 (Wilder); DTX 10.) The posters appear to be in

   English only. (Tr. 1-192:18–25 (Valentine).)

139.      Pamphlets entitled “COVID-19: What You Need to Know About the Coronavirus

   Disease 2019” have also been distributed to inmates. (Tr. 1-193:18–21 (Valentine).)

140.      Mr. Dove, a legally blind inmate, testified that he could not read any of the posters

   or pamphlets provided by TDCJ. (Tr. 2-192:25–193:6, 193:11–14 (Dove).) No one has

   read Mr. Dove the information from the COVID-19 pamphlets or posters. (Tr. 2-193:7–10

   (Dove).)




                                           44
141.      A video produced by TDCJ about preventing the spread of COVID-19 has been

   played on the dayroom TVs three times a day since mid-April. (Tr. 3-243:4–8 (Herrera);

   Tr. 11-69:5–10 (Wilder); DTX 9.) The dayroom TVs have been turned to face the cubicles,

   such that inmates can generally see the TV screens from their cubicles. (Tr. 3-244:12–17

   (Herrera); Tr. 11-69:7–10 (Wilder).) Warden Herrera testified that no inmate had ever

   complained to him that he could not see or hear the video. (Tr. 3-245:8–12 (Herrera).)

   However, Mr. Valentine testified that the video is inaudible from the center of the dorm,

   and especially those who are hearing impaired have difficulty hearing the video. (Tr. 1-

   177:23–178:13 (Valentine).) The video is also only in English, even though there are

   inmates who speak only Spanish. (Tr. 1-177:23–178:7 (Valentine).)

142.      Two to three times a week, there are announcements in English and Spanish

   informing inmates that the medical co-pay has been suspended. (Tr. 11-71:8–11 (Wilder).)

I. Compliance with Policy B-14.52

143.      Of TDCJ’s 104 units across Texas, Pack Unit had the most complaints and

   grievances related to COVID-19. (Tr. 10-72:25–73:4, 10-187:18–25 (Collier); Tr. 4-

   114:18–115:16 (Herrera).) In an email from Marvin Dunbar to Mr. Collier on May 26,

   2020, Mr. Dunbar reported that these complaints related to failure to wear masks and

   gloves appropriately, lack of cleaning supplies issued to inmates, inability to social distance,

   and exposure to COVID-19 by staff and inmates who have tested positive. (PTX 301 at 1.)

144.      Despite these grievances and although Policy B-14.52 was established on March

   20, 2020, and was most recently revised on June 11, 2020, (PTX 115 at 1), TDCJ did not

   begin discussions to create compliance teams until June 24, 2020. (Tr. 10-90:4–10

   (Collier).) The compliance teams are to oversee and ensure that TDCJ is following Policy




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   B-14.52 by, for example, providing sufficient hand soap, disinfecting, and requiring social

   distancing and mask wearing. (Tr. 10-89:15–90:2 (Collier).)

145.      As of July 24, 2020, a compliance team had visited Pack Unit only once, and TDCJ

   has not received any official report or documentation that TDCJ is in fact following

   COVID-19 protocol. (Tr. 10-90:22–91:13 (Collier).)

146.      On July 27, 2020, in a text message following up on the compliance assessment

   team, Mr. Hirsch wrote that “[Mr. Collier] said after talking to Gene last week he felt we

   were not doing everything we should have been and was wondering if that might be a factor.

   Thinks [sic] like restricting, isolating, PPE access, cleaning supplies.” (PTX 338 at 1.)

147.      Mr. Collier sent Mr. Monroe, the regional director, to conduct a site visit at Pack

   Unit on July 15 or 16, 2020, based on testimony from inmate witnesses at trial. (Tr. 10-

   97:17–98:11, 10-160:12–14 (Collier).) Mr. Monroe was removed from Defendants’ trial

   witness list several days later on July 20, 2020, and therefore Mr. Monroe never testified

   to his observations during this site visit. (Tr. 10-160:15–19 (Collier).)

J. Grievance Process

148.      Inmates are instructed by their TDCJ-issued orientation handbooks to attempt

   informal resolution of conflicts before filing a Step 1 grievance. (Tr. 10-201:4–13 (Collier);

   PTX 9 at 7 (“Offenders shall pursue an informal resolution with staff, when possible, prior

   to filing a formal grievance.”); PTX 10 at 86–87 (“An attempt to informally resolve your

   problem shall be made before filing a grievance.”).) Grievances that were filed before

   attempting informal resolution can be rejected on that basis. (Tr. 10-201:14–24 (Collier);

   PTX 9 at 7 (“When an attempt to informally resolve an issue is not documented on the




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   grievance form, the unit grievance investigator may return the grievance to the offender

   without an investigation.”).)

149.      Inmates have 15 days after the alleged incident or problem to submit a Step 1

   grievance. (PTX 9 at 8; PTX 10 at 87.) Unless a grievance is coded as an emergency, TDCJ

   grievance staff may take up to 40 days to respond to the Step 1 grievance. (PTX 9 at 8);

   (PTX 10 at 87.) The grievance staff can extend its own deadline by an additional 40 days,

   for a maximum response time of 80 days after the Step 1 grievance was filed. (PTX 9 at

   10.)

150.      Inmates may appeal a Step 1 decision by filing a Step 2 grievance within 15 days

   of receipt of the Step 1 response. (PTX 9 at 8; PTX 10 at 87.) TDCJ grievance staff may

   take up to 40 days to respond to the Step 2 grievance. (PTX 9 at 8–9; PTX 10 at 87.) The

   grievance staff can extend its own deadline by an additional 40 days, for a maximum

   response time of 80 days after the Step 2 grievance was filed. (PTX 9 at 10.)

151.      For his first pandemic-related grievance, Mr. Valentine attempted informal

   resolution through an I-60 form on March 27, 2020. (DTX 11 at 2.) Mr. Valentine

   submitted the corresponding Step 1 grievance on March 31, 2020. (DTX 11 at 3.) In his

   Step 1 grievance, Mr. Valentine requested hand sanitizer, gloves, masks, and additional

   cleaning supplies for individual cubicles, in order to prevent the spread of COVID-19.

   (DTX 11 at 2.) At the top of the first page, Mr. Valentine wrote “(EMERGENCY

   GRIEVANCE).” (DTX 11 at 2.) TDCJ responded to Mr. Valentine’s Step 1 grievance on

   April 22, 2020. (DTX 11 at 3.) As of June 5, 2020, Mr. Valentine had not received a

   response to his Step 2 grievance (Doc. 137-1 at 3.)




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152.      On April 2, 2020, Mr. King filed a Step 1 grievance without attempting informal

   resolution. (DTX 12 at 2–3; Tr. 2-61:2–4 (King).) The grievance involved inmate transfers

   to the Pack Unit. (DTX 12 at 2; Tr. 2-60:14–19 (King).) TDCJ responded to the grievance

   on May 4, 2020, even though there was no attempt at informal resolution. (DTX 12 at 2;

   Tr. 2-61:2–7 (King).) However, Mr. King clarified that there was no means for attempting

   informal resolution, since his complaint was lodged against the State Classification

   Department, located in Huntsville, Texas. (Tr. 2-61:15–18 (King).)

153.      Prior to May 26, 2020, COVID-related grievances were not treated differently from

   other types of grievances. Even if inmates tried to designate COVID-related grievances as

   emergencies, there was no way for these grievances to be processed as emergencies unless

   they satisfied the criteria of a normal emergency classification. (Tr. 11-204:12–16, 11-

   213:13–17 (Wilder).) Inmates’ attempts to classify their grievances as emergencies were

   not considered in deciding whether a grievance raised an emergency. (Tr. 11-215:3–13

   (Wilder).) Warden Wilder testified that he still does not consider COVID-related

   grievances that did not fulfill another emergency classification to be an emergency

   grievance that requires a shortened time frame for response. (Tr. 11-213:15–23 (Wilder).)

154.      Given the rapid spread of COVID-19, multiple inmates contracted the virus while

   they awaited Pack Unit’s response. Mr. Valentine, for example, began his grievance

   process by attempting informal resolution on March 27, 2020, (Tr. 1-210:7–211:22

   (Valentine)), and filed a COVID-related grievance on March 31, 2020, (Doc. 137-1 at 2,

   5–6). Mr. Valentine tested positive for COVID-19 as did three other Pack Unit inmates

   before the Pack Unit fully responded to his grievance. (PTX 43, 158, 160, 186, 189, 196.)

   Mr. Butaud filed a Step-1 grievance on April 3, 2020, related to COVID-19. (PTX 131 at




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          17–18.) TDCJ granted itself an extension and did not respond for 81 days. (Tr. 3-177:4–18

          (Herrera).) Like Mr. Valentine, Mr. Butaud also tested positive for COVID-19 while his

          grievance was pending. (PTX 131 at 17–18; Tr. 2-196:17–197:1 (Butaud).)

       155.      On May 26, 2020, TDCJ implemented a new process for handling COVID-related

          grievances. (PTX 157 at 2.) The new COVID-19 Grievance Process created a new code for

          grievances that are related in any way to COVID-19 or TDCJ’s measures responding to

          COVID-19. (PTX 157 at 3.) All grievances related to COVID-19 are exempt from almost

          all screening criteria. (PTX 157 at 3.) Additionally, all COVID-related grievances must be

          processed along an expedited time frame—a maximum of 15 days per step, for a total of

          30 days—with no possibility for extensions. (PTX 157 at 3–4.) The new process became

          effective on May 26, 2020. (PTX 157 at 2; Tr. 11-83:4–11 (Wilder).)

III.      CONCLUSIONS OF LAW

          Plaintiffs contend that Defendants’ conduct is violating (1) the Eighth Amendment, and (2)

the Americans with Disabilities Act (“ADA”) and Rehabilitation Act (“RA”). They seek a

permanent injunction requiring Defendants to carry out a number of measures to adequately protect

class members from COVID-19, as well as the appointment of a special master to enforce the

injunction. (Doc. 354 ¶¶ 414-15.)

       A. Plaintiffs’ Pending Motion for Class Certification

          Before addressing the merits of Plaintiffs’ claims, the Court addresses Plaintiffs’

Emergency Supplemental Motion for Certification of Two Additional Subclasses, filed July 21,

2020. (Doc. 248). As noted supra, this Court has already certified the General Class and the High-

Risk Subclass. Class Cert. Order, 2020 WL 3491999, at *1. After additional discovery, Plaintiffs




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moved to certify two additional sub-classes under Rule 23(b)(2): the “Disability Subclass” and the

“Mobility-Impaired Subclass,” defined as follows:

       The Disability Subclass: All current and future inmates incarcerated in the Texas
       Department of Criminal Justice Wallace Pack Unit who suffer from a disability that
       substantially limits one or more of their major life activities, are subjected to TDCJ and the
       Texas Correctional Managed Health Care Committee’s policy and practice of failing to
       provide protection from exposure to Covid-19 during the class period, and who are at
       increased risk of serious illness, injury, or death if exposed to Covid-19 due to their
       disability and any medical treatment necessary to treat their disability.

       The Mobility-Impaired Subclass: All current and future inmates incarcerated in the Texas
       Department of Criminal Justice Wallace Pack Unit who suffer from a disability that
       substantially limits one or more of their major life activities, are subjected to TDCJ and the
       Texas Correctional Managed Health Care Committee’s policy and practice of failing to
       provide protection from exposure to Covid-19 during the class period, and who require the
       use of a walker, cane, or wheelchair to ambulate.

       (Doc. 248 at 11.) To Plaintiffs’ proposed definition of the Mobility-Impaired Subclass, the

Court adds individuals who require crutches to walk. Plaintiffs Valentine and King are members

of the purported Disability Subclass, and Mr. Valentine is a member of the purported Mobility-

Impaired Subclass. Id.

       The Court applies the same legal standard and framework that it did in its previous order

granting certification of the General Class and the High-Risk Subclass. See Class Cert. Order, 2020

WL 3491999, at *2–3. For the reasons that follow, the Court certifies the Mobility-Impaired

Subclass but not the Disability Subclass.

                    i. Legal Standard

       The requirements for class certification under Rule 23(a) are numerosity, commonality,

typicality, and adequacy. In addition, Plaintiffs seek to certify these subclasses under Rule 23(b)(2),

which is the class action mechanism for plaintiffs seeking injunctive or declaratory relief.

Ordinarily, a court may not perform “free-ranging merits inquiries at the certification stage,”

Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013); however, the certification



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questions often “overlap” with the merits of the underlying claims. Wal-Mart Stores, Inc. v. Dukes,

564 U.S. 338, 351 (2011).

                   ii. The Mobility-Impaired Subclass

       The Court finds that Plaintiffs’ proposed Mobility-Impaired Subclass meets the

requirements of Rule 23(b)(2).

       Numerosity. Rule 23(a)(1) requires that the class be “so numerous that joinder of all

members is impracticable.” Additionally, where there are subclasses, “each subclass must

independently meet the numerosity requirement.” Leal v. Paramount Restaurants Grp., Inc., No.

12-CY-038-J, 2013 WL 1363616, at *3 (N.D. Tex. Apr. 4, 2013). There are “no mechanical rules”

to determine whether a class is too numerous; rather, that inquiry turns on “practicability.” Watson

v. Shell Oil Co., 979 F.2d 1014, 1022 (5th Cir. 1992). At the same time, the “rule of thumb adopted

by most courts is that proposed classes in excess of 40 generally satisfy the numerosity

requirement.” 1 McLaughlin on Class Actions § 4:5 (16th ed.) (collecting cases).

       When trial began, the Pack Unit had 49 wheelchair-bound inmates and 87 inmates who

used walkers. (PTX 337 at 2.) Thus, based on this Court’s findings of fact, the proposed Mobility-

Impaired Subclass has more than 40 members and presumptively meets the numerosity

requirement. This number may also change over time, if new prisoners are transferred to or from

the Pack Unit. Defendants dispute numerosity, arguing that there is no “geographical dispersion”

among class members and, at the time, that Plaintiffs’ estimates of the size of the class were

unsupported by evidence. (Doc. 275 at 14–18.) However, geographical dispersion is not a

requirement but rather one factor among many that courts may consider when determining whether

joinder is impractical. For example, the Court has already certified the General Class and the High-

Risk Subclass, all of whose members are located at the Pack Unit. The Court determines that




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joinder of over 100 mobility-impaired incarcerated individuals is impractical given the late stage

of this litigation. Moreover, such joinder would have been impractical at any stage of this litigation,

given that the purported class members are disabled, incarcerated, and seek emergency injunctive

relief as protection against imminent health risks. The class is therefore numerous.

       Commonality. Rule 23(a)(2) requires that there be “questions of law or fact common to the

class.” In practice, this means that the legal claims of the class “depend upon a common contention”

that is “capable of classwide resolution.” Wal-Mart, 564 U.S. at 350. In other words, the answer

to that contention must “resolve an issue that is central to the validity of each one of the claims in

one stroke.” Id. The Mobility-Impaired Subclass raises at least one common question, the answer

to which will resolve particular claims with regard to that class “in one stroke.” That is: does a

lack of access to hand sanitizer and other cleaning materials for hand hygiene violate the ADA

with respect to mobility-impaired individuals? Either the answer to this question is “yes,” in which

case TDCJ is required to provide that specific accommodation for the entire subclass, or the answer

is “no,” in which case class-wide relief is not warranted. But either way, the answer to that question

can be resolved with respect to every mobility-impaired class member at once. This is all Plaintiffs

need, as Wal-Mart teaches that “even a single common question” may satisfy commonality as long

as it admits a common answer that drives the litigation. 564 U.S. at 359 (citation and internal

modifications omitted); see also Yates v. Collier, 868 F.3d 354, 366–67 (5th Cir. 2017) (“Rule

23(b)(2) requires common behavior by the defendant toward the class.” (quoting In re Rodriguez,

695 F.3d 360, 365 (5th Cir. 2012))).

       Defendants attempt to analogize the Mobility-Impaired Subclass to the proposed class in

Wal-Mart, arguing that resolution of Plaintiffs’ ADA claims “would require highly individualized

inquiries.” (Doc. 275 at 7.) While this may be true of the Disability Subclass, as different




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disabilities might require different accommodations, it is not true of the Mobility-Impaired

Subclass, through which Plaintiffs allege a unique harm tied to a particular disability that would

apply to all subclass members and which can be remedied with a single injunction. Unlike in Wal-

Mart, where the class members’ claims were based on “millions of employment decisions” within

the “discretionary decisionmaking of . . . thousands of managers,” 564 U.S. at 345, 352, the harm

alleged here is the result of decisions made by a single centralized body—TDCJ—and the officials

in charge of the Pack Unit. And unlike in Wal-Mart, where the answer to the common question—

“why was I disfavored” in employment decisions—necessitated an individualized inquiry, 564

U.S. at 352, the analysis of whether Defendants’ conduct violates the ADA with respect to

individuals with mobility impairments is common. That analysis would require Plaintiffs to

demonstrate: “(1) that they are qualified individuals within the meaning of the Act; (2) that they

are being excluded from participation in, or being denied benefits of, services, programs, or

activities for which the Secretary is responsible, or are otherwise being discriminated against by

the Secretary; and (3) that such exclusion, denial of benefits, or discrimination is by reason of their

disability.” Lightbourn v. Cty. of El Paso, 118 F.3d 421, 428 (5th Cir. 1997). The answers to the

Lightbourn factors are the same for all subclass members, and in fact the Fifth Circuit has found

commonality for proposed classes bringing ADA claims based on specific disabilities. See, e.g.,

Yates, 868 F.3d at 366 (affirming certification of class of prison inmates “suffering from

disabilities that may impact . . . their ability to withstand extreme heat”); Lightbourn, 118 F.3d at

425 (affirming certification of class of voting-age citizens in Texas “who are blind or mobility-

impaired”). Given that the Mobility-Impaired Subclass likewise requests common relief for the

same alleged harm stemming from the same kind of disability, the subclass satisfies commonality.

And to be sure, “no two individuals have the exact same risk” of contracting COVID-19 due to




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Defendants’ alleged discriminatory conduct, but this “obvious fact does not destroy commonality.”

See Yates, 868 F.3d at 363 (citation and internal modifications omitted).

       Typicality and Adequacy. Rule 23(a)(3) requires that the Plaintiffs’ claims be “typical” of

the rest of the class, and Rule 23(a)(4) requires that “the representative parties will fairly and

adequately protect the interests of the class.” These inquiries “tend to merge” with commonality.

Wal-Mart, 564 U.S. at 349 n.5. Mr. Valentine has required a walker to ambulate since 1993 due to

a drop foot and nerve damage in his legs. (Tr. 1-149:1–150:17 (Valentine).) His disability is

therefore typical of those of the other Mobility-Impaired Subclass members, and the harm he

alleges—difficulty maintaining a medically necessary level of hand hygiene as a result—is also

typical of the subclass. Defendants argue that typicality is not satisfied due to the “unique

circumstances attendant to each individual inmate’s medical needs,” but as discussed with respect

to commonality, no such individualized inquiry is needed with respect to inmates who allege the

same harm stemming from the same disability. (See Doc. 275 at 23.) Finally, the Court finds that

the class representatives as well as class counsel satisfy adequacy for the same reasons as in its

previous order granting class certification, and Defendants raise no new arguments to the contrary.

See Class Cert. Order, 2020 WL 3491999, at *11–13; (Doc. 275 at 17–18).

       Rule 23(b)(2) Requirements. Finally, Plaintiffs seek to certify this subclass under Rule

23(b)(2), which requires that “the party opposing the class has acted or refused to act on grounds

that apply generally to the class, so that final injunctive relief or corresponding declaratory relief

is appropriate respecting the class as a whole.” The Supreme Court has stated that the “key to the

(b)(2) class is the indivisible nature of the injunctive or declaratory remedy warranted.” Wal-Mart,

564 U.S. at 360 (quotation omitted). The Fifth Circuit has previously held that Rule 23(b)(2)

certification requires that “(1) class members must have been harmed in essentially the same way;




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(2) injunctive relief must predominate over monetary damage claims; and (3) the injunctive relief

sought must be specific.” Yates, 868 F.3d at 366 (internal quotations omitted) (quoting Maldonado

v. Ochsner Clinic Found., 493 F.3d 521, 524 (5th Cir. 2007)). The Mobility-Impaired Subclass

easily satisfies these requirements. The class members request specific relief—access to hand

sanitizer and other hand hygiene materials—that would remedy the alleged harms. They also

request no monetary damages whatsoever, unlike the class members in Wal-Mart, 564 U.S. at 360,

who sought individualized amounts of backpay. Accordingly, the Mobility-Impaired Subclass

ought to be certified.

                  iii. The Disability Subclass

       However, the Court agrees with Defendants that the Disability Subclass does not satisfy

commonality. As Plaintiffs note, the class raises a number of common questions such as whether

the class members fall within the scope of the ADA, whether TDCJ has provided reasonable

accommodations to them, and whether TDCJ has denied them access to the prison’s services,

programs or activities by making it more difficult for individuals to wash their hands. (Doc. 248

at 14–15.) But the Supreme Court has emphasized that what matters “is not the raising of common

questions,” but whether those questions are capable of being answered with a single remedy. Wal-

Mart, 564 U.S. at 350, 360 (citation and internal modifications omitted). For the Disability

Subclass, these questions cannot be answered as to the class as a whole, given the wide range of

disabilities that are protected by the ADA. In the cases Plaintiffs cite, the purported subclasses

challenging conduct as violative of the ADA are defined more specifically to allege a common

harm which can be remedied by a single “reasonable accommodation” as required by the ADA,

often tailored to specific disabilities. See, e.g., Yates, 868 F.3d at 366 (class of individuals with

disabilities which made them “particularly susceptible to heat”); Lightbourn, 118 F.3d at 425 (class




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of individuals “who are blind or mobility-impaired”). Put another way, Plaintiffs’ Mobility-

Impaired Subclass satisfies commonality for the same reason the general Disability Subclass

fails—the former identifies a common harm which can be remedied in a single stroke, whereas the

alleged harms to the Disability Class cannot be remedied by a single set of reasonable

accommodations.

        The Court therefore certifies Plaintiffs’ proposed Mobility-Impaired Subclass but not the

Disability Subclass. The Court now turns to the merits of Plaintiffs’ claims.

    B. Legal Standard for a Permanent Injunction

        The standard for a permanent injunction is “essentially the same” as that for a preliminary

injunction, except the plaintiff must show “actual success” rather than “a likelihood of success”

on the merits of their claims. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (quoting

Amoco Prod. Co. v. Gambell, 480 U.S. 531, 546 n.12 (1987)); see also eBay Inc. v. MercExchange,

LLC, 547 U.S. 388, 391 (2006). The Court therefore applies the following familiar four-factor test,

with that caveat in mind. Plaintiffs must demonstrate: (1) “[actual success] on the merits,” (2) “that

he is likely to suffer irreparable harm in the absence of . . . relief,” (3) “that the balance of equities

tips in his favor,” and (4) “that an injunction is in the public interest.” Winter, 555 U.S. at 20.

Importantly, a “permanent injunction is appropriate only if a ‘defendant’s past conduct gives rise

to an inference that, in light of present circumstances, there is a “‘reasonable likelihood’ of future

transgressions.”’” SEC v. Life Partners Holdings, Inc., 854 F.3d 765, 784 (5th Cir. 2017) (quoting

SEC v. Gann, 565 F.3d 932, 940 (5th Cir. 2009)).

    C. Administrative Exhaustion Under the PLRA

        As a threshold matter, Defendants have renewed their argument that Plaintiffs failed to

exhaust administrative remedies as required by the PLRA, and their claims are therefore barred.




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(Doc. 355 at 56–57.) In response, Plaintiffs argue that they were not required to exhaust TDCJ’s

grievance procedure because it was unavailable to them, within the meaning of the PLRA. (Doc.

354 ¶¶ 394–407.) Ordinarily, the PLRA requires inmates to exhaust “available” administrative

remedies before bringing suit in federal court to challenge prison conditions. 42 U.S.C. § 1997e(a).

This requirement is “mandatory” and there is no exception even for “special circumstances.” Ross

v. Blake, 136 S. Ct. 1850, 1856 (2016). However, the statutory text requires the remedy actually

to be “available”—in other words, “capable of use” in order to obtain “some relief.” Id. at 1859.

The Supreme Court has articulated “three kinds of circumstances in which an administrative

remedy, although officially on the books, is not capable of use to obtain relief” and is thus

unavailable within the meaning of 42 U.S.C. § 1997e(a). Id. One such scenario is where the remedy

“operates as a simple dead end.” Id. However, these exemplary scenarios are non-exhaustive. See

Class Cert. Order, 2020 WL 3491999 at *6 (collecting cases).

       The issue of whether Plaintiffs have exhausted any “available” remedies has been

extensively briefed and argued before the Court several times in this litigation. Most recently, this

Court determined that “TDCJ’s grievance procedure was not ‘capable of use to obtain some

relief,’ . . . under two theories of unavailability.” Id. First, the Court found that TDCJ’s grievance

process “did not fit the problem Plaintiffs were facing,” as it was “not designed with a worldwide

pandemic in mind” and was thus unable to provide relief to inmates facing an imminent risk of

serious illness or death. Id. at *7. Second and relatedly, the Court determined that “TDCJ’s

grievance process was a ‘simple dead end’” because it was unable to provide even the minimal

amount of relief that Plaintiffs would need “in order to be protected from the pandemic to the

degree required by the Eighth Amendment.” Id.




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       In considering exhaustion once again, the Court re-iterates that the issue of availability

under 42 U.S.C. § 1997e(a) is a “fact-based analysis,” and “further factual development could

change [a Court’s] preliminary evaluations of the issue of exhaustion and availability.”9 Id. at *5

(citing Ross, 136 S. Ct. at 1859); accord Valentine I, 956 F.3d 797, 806 (5th Cir. 2020) (Higginson,

J., concurring) (noting that further factual development may change a court’s determination as to

the availability of administrative remedies). The Court also notes that the relevant factual

circumstances for this analysis are those that existed at the time Plaintiffs filed their complaint.

See, e.g., Capozzi v. Pigos, 640 F. App’x 142, 145 (3d Cir. 2016). This commonsense principle

flows naturally from the requirement that an inmate is generally required to exhaust any

administrative remedies before filing suit in federal court. Otherwise, an inmate faced with a

grievance process incapable of use would be placed in the impossible and untenable position of

either (a) filing suit potentially subject to dismissal if the grievance process was later changed, or

(b) waiting indefinitely to vindicate his or her constitutional rights. See id. Thus, the Court does

not consider any changes to TDCJ’s grievance processes made after Mr. Valentine and Mr. King

filed the original complaint. What matters is the process that existed at the time of filing.

       With these background principles in mind, the Court once again concludes that TDCJ’s

grievance process was incapable of use at the time Plaintiffs filed their lawsuit. That analysis was

based primarily on four factors, given the record at the time. These were: (1) the fact that Mr.

Valentine had begun the informal administrative process, as he was required to by TDCJ policy,




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  Defendants argue that the Fifth Circuit’s holding in Valentine I, 956 F.3d at 804, “is binding on
this Court” as to the question of exhaustion. (Doc. 355 at 57.) But as explained by this Court in
its class certification opinion, that “panel made its ruling on a different procedural posture, and
on a much narrower record.” Class Cert. Order, 2020 WL 3491999, at *5. Given that exhaustion
is a fact-based analysis, that opinion’s conclusion does not bind this Court’s renewed
determination of the issue on a substantially different factual record, now after a full trial.


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before filing this lawsuit; (2) the fact that over two months elapsed from the time Mr. Valentine

and Mr. King filed grievances, and they remained unresolved; (3) the rapid deterioration of

circumstances at the Pack Unit while these grievances were pending, including 267 inmates testing

positive and eighteen inmates having died as of June 27; and (4) Defendants’ subsequent

acknowledgment that the existing grievance process was inadequate in light of COVID-19 and the

implementation of a new set of procedures. Class Cert. Order, 2020 WL 3491999, at *5–6. The

evidence presented at trial confirms or bolsters each of these findings.

       Defendants insist that, contrary to this Court’s earlier findings, Plaintiffs “Valentine and

King have successfully navigated TDCJ’s grievance process and have largely obtained the relief

they have requested in their grievances.” (Doc. 355 at 44.) In support of this assertion, Defendants

point to various examples of TDCJ policy changes supposedly made in response to grievances

filed by Plaintiffs Valentine and King. (Doc. 355 at 42–43.) These include changes in access to

soap and cleaning supplies; testing; and a request to stop transfers into the Pack Unit.10 (Doc. 355

at 44–45.)

       The trial record tells a slightly different story, however. In some of these instances, TDCJ

changed its policies prior to a grievance being filed, such as with regard to Mr. Valentine’s request

for testing. (Compare DTX 11 at 2384–85 (Mr. Valentine’s Step 1 grievance for testing, filed May

10, 2020) with Tr. 10-26:4–27:23 (Collier, testifying that strike teams were created May 9, 2020).)

During cross-examination, Mr. Collier repeatedly stated that he was “not sure” whether remedies

would be available under the TDCJ grievance policy as constituted prior to any changes made in

light of COVID-19. (Tr. 10-208:22–209:12 (Collier).) Thus, post-trial, there is insufficient



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  Defendants additionally contend that requests for increased social distancing and sanitizing the
shower area between use had already been granted at the time Mr. Valentine filed his grievances.
(Doc. 355 at 43.)


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evidence to find that TDCJ was in fact responsive to grievances filed in the systematic way that

would be required to render the process available to provide relief during the pandemic.

       The grievance process also operated too slowly, given the risk to human life posed by

COVID-19. For instance, Mr. Valentine attempted informal resolution beginning March 27, 2020.

He requested hand sanitizer, gloves, masks, and additional cleaning supplies in order to prevent

the spread of COVID-19. Defendants are correct to point out that TDCJ responded to Mr.

Valentine’s Step 1 grievance in under a month. However, inmates are required by the grievance

process to subsequently filed a Step 2 grievance, to which he hadn’t received a response as of June

5, well after he had tested positive for COVID-19 and multiple inmates had died. An administrative

process is not available if there is a likelihood the inmate will die or suffer severe illness while

waiting for a response.

       Indeed, for a number of other inmates, there is no doubt that TDCJ was either “unable” or

“unwilling to provide any relief to aggrieved inmates.” Ross, 136 S. Ct. at 1859. One need look no

further than the tragic case of Mr. Norris, who filed a grievance on April 27 complaining that a

member of the medical staff was “not wearing gloves or masks.” (PTX 152 at 6 (e-mail list of

COVID-19 related grievances filed Apr. 27).) According to Mr. Valentine’s testimony, Defendants

were also on notice that Mr. Norris was grappling with severe medical problems, and a sergeant

told Mr. Valentine that he “didn’t have time for this.” (Tr. 15-18:10–19:12 (Valentine).) Less than

a week later, Mr. Norris died, with COVID-19, while his grievance was pending. (PTX 196 (Mr.

Norris’s preliminary autopsy).) Defendants provided no evidence that any steps were taken to

address Mr. Norris’s grievance in the interim. Mr. Norris’s death demonstrates unequivocally that

the TDCJ grievance process was unavailable and incapable of providing even “some relief,” as

Ross requires. Similarly, TDCJ deemed other emergency grievances filed by inmates relating to




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COVID-19 as presenting issues that were “not grievable.” (PTX 131 at 61–62 (Mr. Reynolds’s

Grievance Form).)

       At trial, counsel for Defendants insisted that “this is the law”—“[e]ven if a hundred people

have died, the plaintiffs would have had to wait until the grievance process was exhausted before

filing suit.” (Tr. 18-159:20–160:11). But the Court declines what ultimately amounts to an

invitation to interpret the PLRA’s exhaustion requirement in a way that raises serious

constitutional doubts. See Class Cert. Order, 2020 WL 3491999, at *8 (citing Nielsen v. Preap,

139 S. Ct. 954, 972 (2019)); accord Malam v. Adducci, No. 20-10829, 2020 WL 1672662, at *13

(E.D. Mich. Apr. 5, 2020) (holding that mandatory immigration detention statute must admit an

exception where “continued detention is in violation of the United States Constitution”). Though

the Court need not decide the issue, such an interpretation would almost certainly run afoul of the

state’s duty to provide basic medical care to individuals from whom it has “take[n] . . . the means

to provide for their own needs.” See Brown v. Plata, 563 U.S. 493, 510 (2011). The Court thus

avoids this difficult constitutional question by adopting the “fairly possible” construction of the

PLRA that, in light of these extraordinary times, the regular TDCJ grievance process was simply

incapable of use by inmates whose lives were threatened by—and in some tragic instances, claimed

by—the COVID-19 pandemic. See Nielsen, 139 S. Ct. at 972.

       Simply put, Plaintiffs have demonstrated that the existing grievance process, designed for

run-of-the-mill requests in ordinary times, was “utterly incapable of responding to a rapidly

spreading pandemic like Covid-19, . . . much in the way they would be if prison officials ignored

the grievances entirely.” Valentine v. Collier, 140 S. Ct. 1598, 1600–01 (mem) (Sotomayor, J.,

respecting denial of application to vacate stay). Thus, the PLRA does not bar Plaintiffs’ claims.




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   D. Permanent Injunction Analysis

       The Court now turns to the merits of Plaintiffs’ claims, beginning with the Eighth

Amendment.

                    i. Actual Success on the Merits

                                   a.   Eighth Amendment

       The state has a constitutional duty to protect the people it incarcerates from “a substantial

risk of serious harm” and to “take reasonable measures to guarantee the[ir] safety.” Farmer v.

Brennan, 511 U.S. 825, 828, 832 (1994) (quotation omitted). This includes the responsibility to

provide basic human needs such as “adequate . . . medical care.” Id. at 832. At the same time, an

individual seeking relief from conditions of confinement under the Eighth Amendment must

demonstrate prison officials’ “‘deliberate indifference’ to a substantial risk of serious harm.” Id.

at 828. Deliberate indifference exists where a prison official “knows that inmates face a substantial

risk of serious harm and disregards that risk by failing to take reasonable measures to abate it.” Id.

at 847. This is an “extremely high standard to meet.” Cadena v. El Paso Cty., 946 F.3d 717, 728

(5th Cir. 2020).

       “[D]eliberate indifference is a question of fact often made out by ‘inference from

circumstantial evidence.’” Valentine, 140 S. Ct. at 1598 (Sotomayor, J., respecting the denial of

application to vacate stay) (quoting Farmer, 511 U.S. at 842). Such an inference may follow “from

the very fact that the risk was obvious.” Farmer, 511 U.S. at 842. At the same time, that inference

cannot stem “merely from a negligent or even a grossly negligent response to a substantial risk of

serious harm.” Thompson v. Upshur Cty., 245 F.3d 447, 459 (5th Cir. 2001). But if a defendant-

official “had been exposed to information concerning the risk and thus ‘must have known’ about

it,” that is “sufficient” to reason that he or she “had actual knowledge” of it as well. Farmer, 511




                                                 62
U.S. at 842–43. In other words, a defendant-official need not admit the requisite mental state in

order for a plaintiff to prove deliberate indifference.

       At the preliminary injunction stage, this Court found that Plaintiffs, on a much narrower

record, were “likely” to establish that conditions at the Pack Unit violated their Eighth Amendment

rights. Valentine v. Collier, No. 20-cv-1115, 2020 WL 1916883, at *9–13 (S.D. Tex. Apr. 20,

2020). The Fifth Circuit disagreed and granted a stay of that injunction pending appeal. Valentine

I, 956 F.3d at 806. The stay panel determined, based on “Defendants’ written evidence and

Plaintiffs’ live witness testimony” at the time, that TDCJ officials had not been deliberately

indifferent to Plaintiffs’ medical needs. Id. at 799–801. But the deliberate indifference inquiry is

“intensely fact-based.” Id. at 807 (Higginson, J., concurring). The Court now once again takes up

the issue of whether Plaintiffs have proven deliberate indifference with the benefit of a fully

developed record from an 18-day trial, including extensive live testimony from both sides.

       The facts before this Court post-trial present a wholly different picture of the risks faced

by individuals at the Pack Unit in the preceding months as well as in the months ahead than did

the facts before this Court in April. Most saliently, at the time of the Fifth Circuit’s decision, one

individual had died—Mr. Clerkly—and mass testing had not begun, so the extent of the risk posed

to inmates at the Pack Unit was wholly unknown. In fact, Mr. Clerkly was the only individual

known to have been infected at all. As such, neither this Court at that time nor the Fifth Circuit

panel that stayed the injunction had an indication of the magnitude of the impending outbreak at

the Pack Unit. In stark contrast, the Court is now confronted with the “dramatically changed” and

sobering reality that 20 men have died and over 40% of the inmates held at the Pack Unit have

tested positive—undoubtedly, a “human tragedy.” See Valentine II, 960 F.3d at 707 (Davis, J.,

concurring in judgment). This makes the infection rate and the overall death rate at the Pack Unit




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significantly higher than that of Texas or the United States as a whole. The Court’s analysis is

grounded in these grim statistics. To be sure, the deliberate indifference inquiry is subjective, not

objective, so these statistics in and of themselves do not control the analysis. But at the same time,

the scale of death that has struck the Pack Unit is not something this Court dismisses lightly, and

it ultimately frames these conclusions of law.

       Defendants do not contest that COVID-19 poses a substantial risk to individuals

incarcerated at the Pack Unit, a fact that is indisputable given the number of inmates who have

died and that there continue to be active cases at the unit. The Court also finds that Defendants

were and are aware of that risk, which knowledge can be inferred when “the risk [is] obvious.”

Farmer, 511 U.S. at 842. Rather, the dispute centers around Defendants’ mental state—whether

they “disregard[ed]” that risk—here, “an excessive risk to inmate health.” Id. at 837.

       At the conclusion of trial, this Court is faced with two competing narratives of whether the

actions by TDCJ evince deliberate indifference. Defendants argue that a number of actions taken

by TDCJ officials since the pandemic began defeat Plaintiffs’ claims. These include the creation

and implementation of Policy B-14.52; substantial compliance with CDC guidelines; Mr. Collier’s

early participation in meetings related to the pandemic; the implementation of asymptomatic

testing; Mr. Herrera’s implementation of precautionary measures, Policy B-14.52, and other

policies; and Defendants’ voluntary compliance with measures ordered by this Court in its

preliminary injunction. (Doc. 355 at 58–60.) Defendants additionally argue that any “inept,

ineffective, or negligent” actions and “occasional lapses” in enforcement do not rise to the level of

recklessness that the Eighth Amendment demands. (Doc. 355 at 60.)

       In response, Plaintiffs argue that Defendants’ conduct rises above the level of the

occasional misstep and constitute systemic policy failures as well as a pervasive pattern of




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deficient compliance with what policies do exist. (Doc. 354 ¶¶ 380-81.) This is based on

Defendants’ personal knowledge that, at various times, the Pack Unit had the highest number of

deaths of any unit within TDCJ (in addition to, at one point in time, the highest number of COVID-

19 related grievances of any unit) together with the failure to adopt Policy B-14.52 to the Pack

Unit despite its uniquely vulnerable population; the absence of certain “critical steps” to slow the

spread COVID-19; and the failure to consistently implement, follow, and ensure compliance with

the policies that were in place. Id.

        The Court acknowledges that Defendants have taken a number of steps to address the

spread of COVID-19, including initial consultations with medical experts and the adoption and

implementation of Policy B-14.52 at the Pack Unit. But the Court views these measures as the

most basic steps that TDCJ could have taken to prevent mass death within the prison walls on an

unimaginable scale. Designing a policy and implementing some of the measures therein does not

automatically satisfy Defendants’ constitutional obligations, especially in the face of an

unprecedented public health crisis. Moreover, for the reasons explained in its Findings of Fact, the

Court, albeit reluctantly, only partially credits Defendants for these efforts. Text messages

demonstrating confusion about the methodology behind reporting statistics including a lack of

transparency regarding the methodology behind test results; modifications to the Pack Unit made

just in time for trial in order to “look more favorable” to this Court; visits to the Pack Unit that

were seemingly staged for Defendants’ experts; the fact that grievances were not dealt with

promptly even while the death toll mounted; and the fact that the overall guidance was not modified

for the Pack Unit whatsoever, even as it continued to be the unit hit the hardest by the pandemic

across TDCJ and in spite of its vulnerable population, have all contributed to the Court’s




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skepticism that Defendants are in fact consistently implementing many of the procedures and

policies that they claim to be.

       After considering the relevant facts, the Court ultimately finds that Defendants’ conduct

has demonstrated deliberate indifference to Plaintiffs and the class members’ medical needs by

recklessly disregarding obvious and known risks to inmate health and safety. Broadly, this

conclusion is based on: (1) Defendants’ lack of a systematic and sustainable approach to slow the

spread of COVID-19; (2) a failure to abide by basic public health guidance including but not

limited to the steps outlined in Policy B-14.52; and (3) the ongoing risk to inmates coupled with

uncertainty that the existing measures will continue absent a permanent injunction.

                         1. Lack of a systematic approach

       The Court first concludes that TDCJ’s approach in confronting the pandemic was not

systematic and lacked indicia of effecting long-term changes that will be consistently carried out

until the pandemic is under control within the state of Texas and the country, which may be months

from now. First, the process of designing Policy B-14.52 indicates that it was not responsive to the

needs of individual units or TDCJ facilities in general. As the Centers for Disease Control has

indicated, prisons “present[] unique challenges for control of SARS-CoV-2 transmission.”11 Yet

TDCJ officials were not involved in designing any part of the policy, and Ms. Davis testified that

she did not provide any information to the committees in charge of drafting the policy regarding

the characteristics of TDCJ facilities such as the physical space, staffing, the inmate population,

or operations. Mr. Herrera testified that he had no authority to make changes to how B-14.52 was




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   Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in Correctional
and Detention Facilities, CENTERS FOR DISEASE CONTROL (last updated July 14, 2020),
https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html.


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implemented at the Pack Unit. The lack of communication between those in charge of drafting

TDCJ’s public health response and those with knowledge of the specific needs as well as

constraints of TDCJ facilities as a whole, let alone the Pack Unit, further indicates TDCJ’s failure

to take the most basic steps in response to COVID-19.

       Second, even at the time of trial—months after the first known infection at the Pack Unit,

Defendants had failed to document the long-term testing plan in writing. As Dr. Young testified,

this is unusual in medicine and makes it substantially more difficult for TDCJ employees to follow

and implement the testing plan as well as for TDCJ officials to know if the plan is being followed.

High-level TDCJ officials acknowledged that there was no testing plan put in writing, nor could

Mr. Collier commit to putting one in writing in the future. The same problem plagued TDCJ’s plan,

to the extent it existed, to implement contact tracing. As of July 4, Ms. Davis told Mr. Mendoza

that there were no written procedures at all regarding how to carry out contact tracing. (PTX 337

at 2.) And at trial, Mr. Collier confirmed that he was also not aware of any written policies for how

TDCJ employees were to carry out contact tracing.

       Third, in addition to failing to put essential policies in writing, TDCJ’s response to COVID-

19 has lacked any kind of consistent audit or compliance regime. As Mr. Collier testified at trial,

the compliance team had visited the Pack Unit only once as of the end of trial, and Warden Herrera

stated that he was unaware of compliance audits ever being performed at the Pack Unit. As of July

27, Ms. Davis stated in a text message that TDCJ needed a better plan to “start holding wardens

accountable,” implying that there was little in the way of accountability for compliance before.

(PTX 338.) At the same time, Ms. Davis never visited the Pack Unit, despite knowing that the

Pack Unit was experiencing among the largest outbreaks within TDCJ. In other words, in addition




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to failing to put certain key policies in writing, TDCJ officials themselves had no systematic means

of measuring or understanding whether policies—written or unwritten—were being followed.

       This lack of a compliance regime likely manifested in the fact that Plaintiffs and other

witnesses observed multiple lapses in implementing both written and unwritten policies at the Pack

Unit. Defendants characterize such “occasional lapses” as possibly indicating negligence, but not

deliberate indifference. But at trial, Mr. Collier and Mr. Herrera both acknowledged that the Pack

Unit had the highest number of COVID-19-related grievances filed of any of TDCJ’s 104 facilities.

Moreover, TDCJ officials never investigated why this number (as well as the correspondingly

higher number of infections and deaths) was so much higher than at similar facilities such as the

Luther Unit. These complaints related to staff members’ failure to wear PPE, a lack of cleaning

supplies, the inability to social distance, and exposure to COVID-19 by staff and inmates who had

tested positive or were awaiting test results.

       The lapses identified in testimony by Pack Unit inmates cannot be described as “occasional”

or merely negligent. As Mr. Valentine, Mr. Butuad, Mr. Reynolds, Mr. King, and Mr. Pennington

all testified, staff non-compliance with regard to wearing PPE and social distancing were regular,

daily features of life in the Pack Unit. This included while correctional staff were cleaning cubicles,

passing out meals or simply walking around generally. The inmates were able to recall the details

of non-compliance with startling specificity and testified to being spoken to harshly when they

pointed out such non-compliance, even by staff members who would later tragically test positive

for the virus. (See, e.g., Tr. 3-13:10–16 (Mr. Reynolds told by Lieutenant Brown to “shut up and

go back to [his] bunk” after notifying Mr. Brown that correctional officers were not wearing PPE

in the dorms).) These anecdotes are but some of many in which Plaintiffs have shown, as required

by the Eighth Amendment, that prison officials “ignored . . . complaints” in a way that “clearly




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evince[d] a wanton disregard for any serious medical needs.” See, e.g., Domino v. Tex. Dep’t of

Criminal Justice, 239 F.3d 752, 756 (5th Cir. 2001) (quoting Johnson v. Treen, 759 F.2d 1236,

1238 (5th Cir. 1985)).

       Thus, taken together, the lack of policies tailored to the Pack Unit, the lack of written

policies, the lack of a compliance regime to ensure compliance with policies, and the predictable

result of these forces—consistent non-compliance with basic public health protocols—rises above

the level of mere negligence and demonstrates deliberate indifference. As revealed at trial,

Defendants and other TDCJ officials were well aware of the shortcomings listed above, and

nevertheless chose to stay the course, even after a number of inmates died. Importantly, most of

these deficiencies had not been remedied by the time of trial and represent long-term defects in

TDCJ’s response to COVID-19 that pose an ongoing risk to the Pack Unit. Defendants still could

not commit to putting the most basic public health measures such as a plan for testing in writing

at any point in the future. Put simply, Defendants were well aware of these obvious policy failures

and chose to ignore rather than address them, and their conduct therefore rises to the level of

recklessness in violation of the Eighth Amendment.

                         2. Failure to abide by basic public health guidance

       The Court additionally finds that Defendants demonstrated deliberate indifference by

failing to take obvious precautionary public health measures upon which all medical professionals

would agree. At a very basic level, TDCJ did not commence mass testing—one of the core

mechanisms by which COVID-19 may be contained due to the prevalence of asymptomatic and

presymptomatic individuals—until May 12, two months after President Trump and Governor

Abbott declared COVID-19 to be public health disasters. The testing plan itself was plagued by a

number of issues, in addition to never being documented in writing. For example, and perhaps




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more troubling than the initial delay in implementing testing, there were no plans to retest

individuals following the first round of mass testing. This remained the case as of June 4, over four

months after Mr. Collier states that he first began discussing TDCJ’s response to COVID-19.

Defendants explained the delay at trial by arguing that mass testing in the volume needed by TDCJ

was simply impossible due to the difficulty of obtaining test kits. Yet TDCJ had the testing capacity,

through UTMB with whom it already had a working relationship, to carry out at least some mass

testing in mid-April, based on messages exchanged between UTMB and Dr. Linthicum. (Tr.

15-28:13-32:9 (Young).) Further, perhaps as a result of the plan not being documented, testing

was not consistently carried out according to the seven-day schedule that was purportedly

set, especially in the latter weeks of June and early weeks of July, until trial began.

       TDCJ also used defective tests. Both Plaintiffs’ and Defendants’ experts agreed that the

long turnaround time for the Curative tests—between one and two weeks—was simply too long

to effectively contain the spread of the virus. TDCJ’s policy of continuing to house individuals

together whose tests were pending rather than maintaining them in medical isolation almost

certainly contributed to the spread of disease, as individuals who would subsequently test positive

were interacting with the general Pack Unit in the meantime. Defendants did not explore the

possibility of using tests with shorter turnaround times, in the range of 24 to 48 hours (as advertised

on Curative’s website), despite knowing of this possibility. Given the widespread, general

knowledge that asymptomatic transmission is one of the ways COVID-19 spreads so quickly, the

failure to explore other testing options and continuing—through and after trial—to use tests that

TDCJ knows have limited to know effectiveness in containing disease spread, demonstrates an

obvious disregard of a known risk. And in addition to having a turnaround time that was too slow

to be effective, the tests themselves were only approved under the FDA’s Emergency Use




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Authorization and had not been approved for testing of asymptomatic individuals. Both the FDA

use authorization and Dr. Young's trial testimony explained that negative results from the

Curative tests should have been retested, yet TDCJ nevertheless chose to use Curative tests

for mass asymptomatic testing—precisely the use case they were not designed for.

       Apart from deficiencies in its testing plan, TDCJ failed to consider or implement other

basic public health measures, particularly with regard to disinfecting the dorms and other common

spaces, the issuance of PPE, and social distancing. Inmate testimony about the laundry exchange

routine highlight many of these flaws. All dorms in the main building use the same laundry window,

but inmates testified that they had never seen the window ledge being cleaned. Moreover, inmates

entering the showers had already taken off their masks when they received clean clothes from

other, masked inmates. Inmate testimony likewise revealed that the showers were not cleaned

between use by different dorm units. Tellingly, despite presumably needing to disinfect the Pack

Unit more regularly, TDCJ did not increase the number of janitors in response to COVID-19, and

the inmate who worked as janitors were never trained on any new cleaning regimen after the

pandemic began. Despite TDCJ’s representations, multiple inmates testified to not receiving a

sufficient amount of cleaning supplies (and no more than prior to the pandemic), even after having

requested the same.

       The practice of requiring mobility-impaired individuals to be janitors additionally calls into

question whether Defendants were and are keeping TDCJ sanitized to the minimum extent required

to avoid the spread of COVID-19. As both Mr. Jones and Mr. Dove testified, TDCJ required

individuals with serious physical disabilities to perform janitorial work throughout the pandemic.

Mr. Jones is in a wheelchair and has a condition in his right hand that prevents him from being

able to hold anything, including a mop. Mr. Dove similarly is wheelchair bound and paralyzed on




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one side of his body. In addition to these disabilities, Mr. Dove is blind. Nevertheless, Mr. Dove

was assigned to be a janitor, and two months after his grievance regarding his job was supposedly

addressed and well over three months into the pandemic, Mr. Dove had not been reassigned. When

asked at trial whether it was appropriate for such individuals to be made to work as janitors, Mr.

Wilder responded that he was unconcerned because Mr. Jones or Mr. Dove “could put a broom

against his neck and push it in a wheelchair.” (Tr. 11-239:13–19 (Wilder).) Such a statement is a

textbook example of actual knowledge coupled with deliberate indifference or a reckless disregard

for the basic health and safety of inmates, which depends on surfaces being regularly cleaned. To

be sure, occasionally lapses in the cleanliness of prisons likely would not rise to the level of an

Eighth Amendment violation in normal times. But employing disabled individuals who patently

cannot carry out janitorial duties, after being put on notice in the midst of a global pandemic, surely

does.

        Next, the CDC has described social distancing as the “cornerstone of reducing transmission

of respiratory diseases such as COVID-19.”12 It is undisputed that strict social distancing did not

occur within the Pack Unit, either in common spaces or in the dorms. Instead, Defendants argue

that “TDCJ implemented social distancing as much as operationally possible in a correctional

environment.” (Doc. 355 at 9.) Yet TDCJ ignored the most basic steps to increase social distancing

within the communal-living setting of the Pack Unit. For example, at no point did TDCJ ever even

potentially consider using authorized early release as a means to increase social distancing. TDCJ

left empty for a month two dorms in E-Wing, which were under construction when the pandemic




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and Detention Facilities, CENTERS FOR DISEASE CONTROL (last updated July 14, 2020),
https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html.


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began but complete by early April. TDCJ also did not implement head-to-foot sleeping, a policy

recommended by the CDC. While it is true that at least one inmate expressed discomfort at the

idea, TDCJ did not discuss the possibility of implementing the policy generally with exceptions

for individuals who had legitimate concerns about the policy. In common spaces, dorms were fed

two at a time, two inmates were seated at each table, and this increased to three and four inmates

per table at various points. The Pack Unit took steps to visually demarcate social distancing in

common spaces with red tape markings on the floors only in July, months after the pandemic began.

Finally, the social distancing policies that were in place were continually violated by TDCJ staff,

as observed by inmates on a daily basis.

       TDCJ’s response to the need for additional handwashing capacity—one of the key ways to

contain the spread of COVID-19—has also been inadequate to inmates’ needs. Multiple inmates

testified that sinks in the Pack Unit, at times more than half of existing sinks, were broken for

much of the pandemic. TDCJ installed temporary handwashing stations only in the days leading

up to and the early days of trial. As late as July 15, the third day of trial, Ms. Davis was texting

TDCJ employees to get “hand washing stations prepped and in place” and to send her pictures.

(PTX 337 at 1.) Nowhere did TDCJ provide evidence that installing handwashing stations on that

particular schedule was in response to any kind of written plan, rather than in response to the

ongoing trial. In fact, communications between Mr. Mendoza and TDCJ employees demonstrate

that at least eight other facilities had obtained multiple handwashing stations as of July 9, 2020.

(PTX 342 at 2.) Yet TDCJ had not done so at the Pack Unit, which houses one of TDCJ’s most

vulnerable populations and had already experienced a massive outbreak by that time.

       Finally, as of trial, TDCJ had no plan to carry out contact tracing, which is another measure

identified by the CDC and other public officials in mitigating the spread of COVID-19 once




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positive cases are found. And the unwritten plan that did exist was not carried out consistently, as

indicated by the barely-filled out forms introduced into evidence at trial as well as communications

between TDCJ officials asking for clarifying information regarding the contact tracing plan, the

response to which was that no written plan existed.

       In sum, Plaintiffs have identified a pattern of policy failures coupled with implementation

and enforcement failures in response to COVID-19 that constitute deliberate indifference to the

medical needs of inmates.

                                   b. Americans with Disabilities Act and Rehabilitation Act

       The Americans with Disabilities Act (“ADA”) and the Rehabilitation Act (“RA”) have the

“same legal standard[]” and allow for the “same remedies.” Kemp v. Holder, 610 F.3d 231, 234

(5th Cir. 2010). In order to prevail on a claim under either, a plaintiff must show: “(1) that he has

a qualifying disability; (2) that he is being denied the benefits, services, programs, or activities for

which the public entity is responsible, or is otherwise discriminated against by the public entity;

and (3) that such discrimination is by reason of his disability.” Hale v. King, 642 F.3d 492, 499

(5th Cir. 2011). The ADA places an “affirmative obligation” on the state “to make reasonable

accommodations” for persons with disabilities in the provision of public services. Smith v. Harris

Cty., 956 F.3d 311, 317 (5th Cir. 2020) (quoting Bennett-Nelson v. La. Bd. of Regents, 431 F.3d

448, 454 (5th Cir. 2005)); accord Tennessee v. Lane, 541 U.S. 509, 531 (2004) (“[F]ailure to

accommodate persons with disabilities will often have the same practical effect as outright

exclusion.”). The ADA protects people incarcerated in state prisons. Pa. Dep’t of Corr. v. Yeskey,

524 U.S. 206, 213 (1998).

       Defendants argue that the ADA does not apply here because ADA claims are not available

under “exigent circumstances.” Hainze v. Richards, 207 F.3d 795, 801 (5th Cir. 2000); (see Doc.




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355 at 55). The authority Defendants cite is inapposite. Hainze dealt with a situation in which a

police officer responding to a reported disturbance had to “instantaneously identify, assess, and

react to [a] potentially life-threatening situation[]” as he arrested the plaintiff, who was holding a

knife. Id. at 801. That court emphasized the narrowness of its decision by “simply hold[ing] that

[an ADA] claim is not available under Title II under circumstances such as presented herein.” Id.

Of course, the situation at hand is “life-threatening” (to both inmates and correctional officers),

but it is not an “exigent circumstance” that relieves the government of its duty to abide by the ADA

within the narrow bounds of the Hainze exception, let alone for months on end or indefinitely. If

anything, the pandemic presents a situation in which the state must be more sensitive, not less, to

what are ultimately the heightened public health needs of inmates.

       Plaintiffs argue that TDCJ’s decision to not distribute hand sanitizer to inmates—in

particular, the Mobility-Impaired Subclass—effectively denies those individuals the services of

medical treatment, proper hygiene, and safe conditions of confinement. (Doc. 354 ¶ 386–87.)

Defendants contend that its decision to do so was based on security concerns—the possibility that

inmates would either ingest the sanitizer or that the sanitizer would be used as an accelerant. But

hand sanitizer could surely be provided to members of the Mobility-Impaired Subclass in daily,

incremental quantities too small for misuse. The Court finds TDCJ’s decision to deny members of

the Mobility-Impaired Subclass access to hand sanitizer and failure to reasonably accommodate

their disability, given the testimony at trial regarding their inability to practice appropriate hand

hygiene—a medical necessity in light of the pandemic—using only soap-and-water handwashing

stations. Indeed, not only would such an accommodation be reasonable; it would likely be life-

saving in certain instances. In fact, the decision to deny hand sanitizer to mobility-impaired

individuals also contravenes basic public health guidance, as explained by Dr. Young and Dr.




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Zawitz at trial. Whereas Defendants read public health guidance to recommend issuing hand

sanitizer only where handwashing with soap and water is impossible, the Court agrees with

testimony at trial explaining that the proper approach is that using both in conjunction is much

more effective especially where, as here, individuals cannot readily access regular handwashing

where needed.

       The Court also finds Defendants’ security rationale unpersuasive. Jails and prisons across

the country, including large jail systems such as the Cook County Jail in Chicago Illinois and the

California prison system, have managed to safely do so. In fact, units within TDCJ such as the

Roach Unit allow inmates to handle hand sanitizer for staff use. TDCJ officials even acknowledged

it would be feasible to issue hand sanitizer to inmates and nevertheless made the deliberate choice

not to. Balanced against potential security risks was the very real risk that mobility-impaired

individuals who could not easily access sinks or the temporary handwashing stations would

contract COVID-19, as indeed many did.

       Defendants further argue that the decision not to issue hand sanitizer to disabled individuals

cannot be discriminatory because Policy B-14.52 applies to all Texas prisons. (Doc. 355 at 61.)

But this argument misunderstands TDCJ’s obligations under the ADA. As explained above, the

ADA imposes an “affirmative obligation” to ensure that disabled individuals have equal access to

services; it does not merely require the state to treat disabled individuals the same as it treats non-

disabled individuals. By virtue of their disability, individuals who must use wheelchairs or walkers

to ambulate are being denied access to the basic service of being able to keep their hands clean.

Thus, TDCJ’s decision to not issue hand sanitizer to members of this subclass constitutes a failure

to reasonable accommodate their disabilities in violation of the ADA and RA.




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       Plaintiffs have demonstrated actual success on the merits for both their Eighth Amendment

as well as their ADA and RA claims for the Mobility-Impaired Subclass. The Court now turns to

the remaining factors that govern whether it should grant a permanent injunction.

                   ii. Irreparable Harm

       Next, a plaintiff must prove that he or she will be irreparably harmed by Defendants’

conduct. There is no doubt that Plaintiffs have been irreparably harmed in the past, given the

number of infections and deaths at the Pack Unit. But a “permanent injunction is appropriate only

if a ‘defendant’s past conduct gives rise to an inference that, in light of present circumstances,

there is a “‘reasonable likelihood’ of future transgressions.”’” Life Partners Holdings, Inc., 854

F.3d at 784 (quoting Gann, 565 F.3d at 950). In other words, injunctive relief must remedy a “real

and immediate threat of future or continuing injury apart from any past injury.” The Ark. Project

v. Shaw, 775 F.3d 641, 648 (5th Cir. 2014). Still, while “insufficient alone,” “past wrongs may

help establish the threat of future injury.” Id. (citing O’Shea v. Littleton, 414 U.S. 488, 495–96

(1974)).

       The Court finds that the risk to inmates at the Pack Unit is continuing and imminent, based

on Defendants’ past conduct as well as representations made during trial about future conduct.

Many of the issues in TDCJ’s response to COVID-19 identified in this Court’s analysis of

Plaintiffs’ Eighth Amendment and ADA claims not only posed risks to inmate health in the past

but do so on an ongoing basis, for four reasons. First, the lack of written policies or a compliance

or audit regime to ensure enforcement of policies means there is a high likelihood of non-

compliance with basic public health procedures in the future, just as there has been prior to and

during trial. Second, many of the policies that TDCJ implemented were done so either on the eve

of or during trial. The Court does not have confidence that, without an injunction in place, TDCJ




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will continue to carry out policies that are appropriate to safeguard inmates’ health and safety.

Third, the existing policies are inadequate to protect inmates going forward. The track record at

the Pack Unit speaks for itself—twenty deaths and a 40% infection rate is more than sufficient for

the court to infer “future injury” from “past wrongs,” if TDCJ represents, as it did multiple times

during trial, that it has no major plans to change or improve its current approach to COVID-19. Id.

And fourth, although the Court comes to this conclusion with the utmost regret, the credibility of

the representations made by certain TDCJ officials and witnesses has been placed in doubt.

       In closing at trial, counsel for Defendant argued that the TDCJ policies were working,

given the relatively lower number of active cases in the unit now than in May, June, or July. But

even setting aside the issue of whether the test results are accurate, whether enough tests are being

performed, and whether TDCJ’s policies are sufficient or are being strictly followed, the Court

fears that Defendants have lulled themselves into a false sense of security. As reported on TDCJ’s

website, weeks after trial, another 14 active cases were found at the Pack Unit. The website now

reports 4 active cases among inmates, indicating that the pandemic continues to spread, even if not

with the speed it did initially. And as this relentless pandemic has demonstrated repeatedly, the

time it may take for the Pack Unit to suffer another outbreak could be a matter of just a few days

or a week of failing to follow health precautions. As Mr. Collier acknowledged at trial, due to the

unrelenting spread of COVID-19 in the state of Texas since the pandemic began, “we have a bigger

threat of COVID now than we did in March” and in particular, there is a very real risk that

employees might contract COVID-19 and bring it back to the prison. (Tr. 10-7:16–21 (Collier).)

Yet TDCJ plans to discontinue strike team testing if they have three weeks with zero positive cases.

Given that COVID-19 was necessarily first introduced into the Pack Unit from outside the prison,

such a plan fails to account for the possibility, indeed likelihood, that COVID-19 will be introduced




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into the prison once again with no means of detecting it. Accordingly, the Court finds that the

inmates at the Pack Unit continue to be at risk of irreparable harm in the form of serious illness or

death, and a permanent injunction is warranted.

                  iii. Balance of Harm to Parties and the Public Interest

       Finally, the Court considers the balance of harm to the parties and whether the injunction

is in the public interest. These prongs of the injunction analysis “merge when the Government is

the opposing party,” “because the government’s interest is the public interest.” Pursuing America’s

Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016) (quoting Nken v. Holder, 556 U.S. 418, 435

(2009)) (emphasis in original).

       Even in ordinary times, “public health” is a “significant public interest[].” Grand River

Enters. Six Nations v. Pryor, 425 F.3d 158, 169 (2d Cir. 2005). District courts have consistently

recognized that this is a particularly acute consideration when considering issues relating to

COVID-19 in prisons or detention centers, due to the fact that prisons and jails have been among

the largest sources of outbreaks in the country. See, e.g., Malam, 2020 WL 1672662, at *13

(“Protecting public health . . . is in the public interest.”); Hartman v. Acton, No 2:20-CV-1952,

2020 WL 1932896, at *11 (S.D. Oh. Apr. 21, 2020) (“In considering . . . the public interest, ‘a

court must at the very least weigh the potential injury to the public health.’” (citation omitted));

Thakker v. Doll, No. 1:20-cv-480, 2020 WL 1671563, at *9 (M.D. Pa. Mar. 31, 2020) (“Efforts

to stop the spread of COVID-19 and promote public health are clearly in the public’s best

interest.”); cf. Basank v. Decker, 449 F. Supp. 3d 205, 216 (S.D.N.Y. Mar. 26, 2020) (“In the

highly unusual circumstances posed by the COVID-19 crisis, the continued detention of aging or

ill civil detainees does not serve the public’s interest.”). Thus, curbing the spread of COVID-19




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within the Pack Unit is of critical importance not only to the inmates who live there but to the

public more generally.

       Courts have also recognized that “it is always in the public interest to prevent the violation

of a party’s constitutional rights.” Melendres v. Arapaio, 695 F.3d 990, 1002 (9th Cir. 2012)

(quoting G & V Lounge, Inc. v. Mich. Liquor Control Comm’n, 23 F.3d 1071, 1079 (6th Cir. 1994));

see also Gannett Co. v. DePasquale, 443 U.S. 368, 383 (1979). Given that the Court has

determined that Defendants’ conduct is violative of the Constitution, it is in the public interest for

the Court to enjoin Defendants’ conduct.

       The harm to Plaintiffs if an injunction is not put in place has been described in detail above,

and it outweighs the harm to TDCJ. In the past, Defendants have argued that an injunction would

be “unduly burdensome, . . . waste resources, and set a precedent for courts to micro-manage the

operations of prisons during a pandemic.” (Doc. 36 at 33.) But at trial, Defendants did not provide

evidence of budgetary or financial concerns with the relief requested by Plaintiffs. Even if they

had, the Fifth Circuit has made clear that a state agency’s “fiscal interests” do not outweigh the

“public interest” of “safeguarding public health.” Planned Parenthood of Gulf Coast, Inc. v. Gee,

862 F.3d 445, 471–72 (5th Cir. 2017); accord Laube v. Haley, 234 F. Supp. 2d 1227, 1252 (M.D.

Ala. 2002) (“The threat of harm to the plaintiffs cannot be outweighed by the risk of financial

burden or administrative inconvenience to the defendants.”). The Court additionally fails to see

how the injunction would be unduly burdensome to TDCJ. Several of the measures in the

injunction are measures that TDCJ itself has acknowledged constitute medically necessary

responses to COVID-19 and some are measures that TDCJ is already purporting to carry out. The

Court merely seeks to ensure that TDCJ is in fact implementing many of these measures, at least

some of which the Court remains concerned were done in preparation for trial but for which there




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is no written plan to continue in the future. And balanced against the “burden” of complying with

the injunction is the obvious fact that taking public health precautions to keep inmates safe also

keeps TDCJ employees safe, many of whom have already fallen sick and continue to be at high

risk of being exposed to the virus. The injunction thus benefits not only Plaintiffs but, to a large

extent, Defendants as well and the communities in which TDCJ’s employees live.

       Finally, the Court does not seek to micro-manage TDCJ nor become “enmeshed in the

minutiae of prison operations.” Bell v. Wolfish, 441 U.S. 520, 562 (1979). It recognizes that courts

should be hesitant before rushing to regulate prison administration, where the state is traditionally

owed a great measure of deference. At the same time, the Court reiterates that it must balance

legitimate penological concerns with the fundamental principle that the “[p]rison walls do not form

a barrier separating prison inmates from the protections of the Constitution.” Turner v. Safley, 482

U.S. 78, 84 (1987). At bottom, federal courts have a “duty to protect constitutional rights.” Id.

Accordingly, the injunction contains relief that is tailored to the matter at hand, based on extensive

trial testimony including from public health experts, yet allows for latitude in implementation

while aligning Defendants’ conduct with their constitutional obligations.

                                  *       *       *       *       *

       In imposing this injunction, the Court is fully sensitive to the potential objections to it.13

The injunction may be seen as micro-management of the state’s conduct, or a burden to the

government’s budget, or as assuming a responsibility that should be left for the legislature. Against

all that is the simple proposition that we must not treat with deliberate indifference those whom

we have chosen to imprison. The Supreme Court has clearly established that obligation and has



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  As set forth previously, the PLRA, interpreted correctly with the Constitution, cannot be
understood as prohibiting judicial relief while inmates are dying. Defendants’ arguments
otherwise are unpersuasive. (Tr. 18-159:20–160:11.)


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done so in circumstances far less severe than the circumstances to which the Pack Unit inmates

are now exposed. Asking less of prison authorities—so as to avoid micro-management, or a

budgetary impact, or an intrusion on legislative terrain—could easily translate into more lives lost

and more inmates sickened. The difficulties that may be endured by prison authorities are modest

relative to the harm to be averted.

IV. PERMANENT INJUNCTION

        For the above reasons, the Court finds that Plaintiffs have met the burden of demonstrating

that permanent injunctive relief is warranted in this case. The Court accordingly GRANTS

Plaintiffs’ request for a permanent injunction, and it is ORDERED that Defendants, their agents,

representatives, and all persons or entities acting in concert with them are enjoyed as follows:

       Provide unrestricted access to hand soap and clean (regularly washed) or disposable hand

        towels to facilitate frequent handwashing;

       Provide members of the Mobility-Impaired Subclass access to hand sanitizer that contains

        at least 60% alcohol;

       Provide sufficient cleaning supplies for each housing area, including bleach-based

        cleaning agents and CDC-recommended disinfectants; provide additional cleaning

        supplies as requested by inmate janitors; train janitors on additional cleaning practices to

        be carried out in light of COVID-19;

       Provide new (either disposable or washed) gloves and masks each time inmates perform

        new tasks, such as beginning a janitorial shift or working in the laundry exchange;

       Create a plan to allow for regular cleaning of common surfaces with bleach-based cleaning

        agents;




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   Create a plan to allow for regular cleaning of the cubicles of inmates who are physically

    unable to do so themselves;

   Enforce social distancing and the wearing of PPE among TDCJ staff;

   Mark common spaces with red tape to denote safe social distancing practices;

   Create a plan for inmates to sleep head-to-foot with exceptions for legitimate concerns by

    individual inmates;

   Use common spaces for temporary housing of inmates without disabilities;

   Limit transportation of inmates in and out of the Pack Unit other than for medical

    appointments or release from custody;

   Create a comprehensive weekly testing program using tests that are approved by the FDA

    for asymptomatic testing and with a turnaround time for results of 48 hours or less, and

    document that plan in writing;

   Continue weekly testing until the pandemic is brought under control within the state of

    Texas, even if multiple weeks pass with zero positive cases;

   Quarantine inmates who are awaiting test results from individuals who are known to have

    tested negative;

   Create a written plan to implement contact tracing when an inmate or staff member tests

    positive;

   Document in writing all TDCJ policies in response to COVID-19; and

   Institute a regular audit and compliance program to ensure compliance with the measure

    in this injunction and other written policies in response to COVID-19.

This injunction shall go into effect 15 days from today, on October 14, 2020.




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IT IS SO ORDERED. Signed at Houston, TX on September 29, 2020.



                                          ____________________________________

                                          Keith P. Ellison
                                          U.S. District Judge




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